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                                 No. 24-60193


                 UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


   Texas Chemistry Council; American Chemistry Council; Georgia Chemistry
  Council; Asbestos Disease Awareness Organization, United Steel, Paper and
 Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers
      International Union, AFL-CIO; Ohio Chemistry Technology Council,
                                  Petitioners,

                                       v.

                United States Environmental Protection Agency,
                                 Respondent.


                        Consolidated with No. 24-60281


      American Public Health Association; Collegium Ramazzini; FeelGood
  Foundation; Local F-116 (Vandenberg Professional Firefighters), International
 Association of Fire Fighters; Local F-253 (Fort Myer Professional Firefighters),
International Association of Fire Fighters; Henry A. Anderson; Brad Black; Barry
  Castleman; Raja Flores; Arthur Frank; Phil Landrigan; Richard Lemen; Steven
 Markowitz; Jacqueline Moline; Celeste Monforton; Christine Oliver; Dan Whu;
                                   Andrea Wolf,
                                    Petitioners,

                                       v.

United States Environmental Protection Agency; Michael S. Regan, Administrator,
                United States Environmental Protection Agency,
                                 Respondents.
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                        Consolidated with No. 24-60333


                               Olin Corporation,
                                  Petitioner,

                                       v.

United States Environmental Protection Agency; Michael S. Regan, Administrator,
                United States Environmental Protection Agency,
                                 Respondents.


                      Petitions for Review of Final Action
                 by the U.S. Environmental Protection Agency


   RESPONDENTS’ STATUTORY AND REGULATORY ADDENDUM
                     VOLUME 2 OF 2


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                                        January 17, 2025




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June 7, 2016                      CONGRESSIONAL RECORD-SENATE, Vol. 162, Pt. 6                                                            7939
                                       SENATE-Tuesday, June 7, 2016
  The Senate met at 10 a.m. and was              United States Senate, not the senior               cheerleader, just like the Republican
called to order by the President pro             United States Senator from Iowa.                   leader has done.
t,empore (Mr. HATCH).                              Instead of a bold feat of bipartisan-              Last week Senator GRASSLEY told his
                                                 ship, we are left with yet another ex-             cons ti tuen ts:
                                                 ample of how he has become the most                  He's building confidence with me.
                PRAYER                           partisan Judiciary chairman in the his-              Talking about Trump.
  The Chaplain, Dr. Barry C. Black, of-          tory of America. Instead of rising                   I've already said I'm going to vote for him.
fered the following prayer:                      above partisanship and condemning                    .. I'd campaign with him.
  Let us pray.                                   Trump's racist attacks on a highly                   But this is not the beginning of Sen-
  Eternal God, who knows what is best            qualified judge-by the way, who was                ator GRASSLEY's campaign for Donald
for us, we submit today to Your loving           born in Indiana-Senator GRASSLEY                   Trump. Senator GRASSLEY's entire
providence. Continue to be our refuge            kisses Trump's ring and toes the party             chairmanship the past 6 months has
and strength, a very present help in the         line. Instead of condemning Trump,                 been one big campaign push for Trump.
time of trouble. May we never forget             GRASSLEY defended him.                             His committee has become an exten-
that nothing in all creation can sepa-             His rationale is mind-boggling. Lis-             sion of the Trump campaign. The Re-
rate us from Your love.                          ten to this: Senator GRASSLEY says                 publican Judiciary Committee has
  Bless our lawmakers. Fill their                that Trump must respect the Judiciary              done everything to focus on boosting
hearts with such love for You that no            because over the course of hundreds of             Trump but has neglected to do its job
difficulty or hardship will prevent              lawsuits and years of litigation, Trump            in the process.
                                                 has actually won some cases. I can't                 Under Chairman GRASSLEY, the com-
them from obeying Your precepts. Help                                                               mittee is reporting out almost no bills,
them to remember that those who walk             make up something like this.
                                                   For example, a quote from a news-                fewer judicial nominations than any
in integrity travel securely.                                                                       time in recent history, and because of
  Lord, strengthen their resolve to              paper article:
                                           Grassley also suggested Trump's propen-
                                                                                                    this inaction by the chairman of the
serve You as they should and in doing                                                               Judiciary Committee, the Senate has
so may they become more aware of sity for filing lawsuits showed some level of                      confirmed fewer judges than in dec-
Your continuous presence.                respect for the judicial branch.
                                           "He must respect the Judiciary," Grassley                ades. We heard the report yesterday of
  We pray in Your great Name. Amen. said.     "I've seen statistics that he's won over              how the Federal system of courts in
                                                 400 cases, only lost 30."                          our country is in disrepair. Why? Be-
                                                   How about that. I find it curious that           cause the Judiciary Committee is proc-
     PLEDGE OF ALLEGIANCE                                                                           essing none of the appointments Presi-
                                                 the chairman doesn't have time to read
 The President pro tempore led the               Merrick Garland's questionnaire or                 dent Obama has made.
Pledge of Allegiance, as follows:                give him a hearing, but he has time to               What has the Judiciary Committee
  I pledge allegiance to the Flag of the         study Donald Trump's success rate in               done instead? It has spent its time car-
United States of America, and to the Repub-      the courtroom. This says a lot, and one            rying out a political hit job on Sec-
lic for which it stands, one nation under God,
                                                 of the things it says is what Senator              retary Clinton. Senator GRASSLEY has
Indivisible, with liberty and justice for all.                                                      wasted countless dollars and staff time
                                                 GRASSLEY's priorities are.                         developing partisan opposition re-
                                                   In spite of everything coming out of             search that he hoped could be used to
 RECOGNITION OF THE MINORITY                     Donald Trump's mouth,            Senator           help Trump's candidacy against Sec-
           LEADER                                GRASSLEY remains loyal to Donald                   retary Clinton. It hasn't helped, but it
                                                 Trump. According to an Iowa news-                  has shortened the pocketbook of the
  The PRESIDING OFFICER (Mr. COT-                paper, the Ames Tribune, Senator
       The Democratic leader is recog-                                                              American people. Senator GRASSLEY
TON).                                            GRASSLEY told his constituents on Fri-             has been so desperate to drag Secretary
nized.                                           day: "He isn't concerned by any of the             Clinton's name through the mud that
                                                 controversial or inflammatory rhetoric             he even encouraged the FBI to leak an
                                                 coming from the Trump campaign."                   independent review of Secretary Clin-
      DONALD TRUMP AND THE                         I am a little disappointed, but-with
JUDICIARY COMMITTEE CHAIRMAN                                                                        ton's use of email.
                                                 what has happened the last couple of                 At every turn, the senior Senator
  Mr. REID. Mr. President, the Repub-            months-not surprised. I believe no                 from Iowa has used his committee for
lican nominee of our great country               Member of the Senate has done more                 partisan purposes that benefit only one
continues to attack a Federal judge be-          for Donald Trump than the chairman                 person: Donald Trump. There is no bet-
cause of his Mexican heritage. This is           of the Senate Judiciary Committee.                 ter example than the current vacancy
not only wrong, it is racist and un-               In January, when many Republicans                on the Supreme Court. Rather than
American. It is also a fundamental at-           were still trying to distance them-                doing his constitutional duty and proc-
tack on the American judiciary sys-              selves from Donald Trump, Senator                  essing Merrick Garland's nomination,
tem.                                             GRASSLEY introduced Trump at an                    Chairman GRASSLEY took his marching
  When issues like these arise, the Na-          Iowa campaign event. Since then, de-               orders from Trump, and Trump said:
tion has historically looked to the Sen-         spite dozens of editorials against Sen-            Delay, delay, delay. And that is exactly
ate for leadership. In particular,               ator GRASSLEY and pressure from his                what the Senator from Iowa has done--
throughout our history, the Senate Ju-           constituents, Senator GRASSLEY has                 delay, delay, delay.
diciary Committee has been a bastion             done everything in his power to hold                 Chairman GRASSLEY is hoping to run
of independence and bipartisanship.              open a Supreme Court seat for Donald               out the clock. He is hoping President
When Federal judges are under assault,           Trump to fill. I am surprised Senator              Trump gets to nominate the next Su-
we should expect the chairman of the             GRASSLEY has yet to acknowledge                    preme Court Justice. That is why last
Judiciary Committee to rise above pol-           these racist attacks on Judge Curiel               month Senator GRASSLEY said of
itics and condemn racism-but not this            because these attacks are beyond the               Trump: "I think I would expect the
Judiciary chairman who is now the                pale. Instead, Senator GRASSLEY chose              right type of people to be nominated by
chairman of the committee in the                 to further establish himself as a Trump            [Trump] to the Supreme Court."


              e This "bullet" symbol identifies statements or insertions which are not spoken by a Member of the Senate on the fl,x,r.




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7978                           CONGRESSIONAL RECORD-SENATE, Vol. 162, Pt. 6                                        June 7, 2016
Senate floor talking about some stupid      Toxic Substances Control Act, and for other   on for a long time. But I do want to re-
bird. But I say this: When one sees the     purposes." with an amendment to the Senate    iterate that the journey to this mo-
voyage that this bird has to make, a        amendment.                                    ment has been the most complicated
little shore bird used to running along                  MOTION TO CONCUR                 journey I have ever had to take on any
the shore making this epic voyage           Mr. INHOFE. Mr. President, I move             piece of legislation, and I have been
every year-one of them has been           to concur in the House amendment to             around here for a long time.
measured, because of a tag on its         the Senate amendment.                              It was a critical journey. When nam-
ankle, to have flown the distance from      I ask unanimous consent that there            ing a bill after Senator Lautenberg,
here to the moon and halfway back in      now be 45 minutes of debate on the mo-          who fought for the environment all his
its life-if one can't see the hand of     tion, and that following the use or             life, the bill must be worthy of his
God in that creature, I weep for their    yielding back of time, the Senate vote          name, and, finally, this bill is.
soul.                                     on the motion to concur.                           It didn't start out that way. I used
  So I thank my colleague from Dela-        The PRESIDING OFFICER. Without                every prerogative I had, every tool in
ware for his staff and the experts he     objection, it is so ordered.                    my arsenal to bring it down until it got
brought along to help us learn about        Mr. INHOFE. For the information of            better, and it is better. It is better than
this. Like Rhode Island, Delaware has     Senators, this will allow us to pass this       current law.
been proactive in planning for the risks  bill tonight by voice vote.                        Asbestos, for example, is one of the
that we face in a warmer and wetter fu-     Mr. President, I ask unanimous con-           most harmful chemicals known to hu-
ture.                                     sent that for that 45 minutes of debate,        mankind, and it takes 15,000 lives a
  I yield the floor to the distinguished  the Senator from California, Mrs.               year. It is linked to a deadly form of
junior Senator from Delaware.             BOXER, be recognized for 10 minutes;            lung cancer called mesothelioma. Peo-
  Mr. COONS. With that, Mr. Presi-        followed by the Senator from Lou-               ple can breathe in these fibers deep
dent, I want to conclude by com-          isiana, Mr. VITTER; and then go back            into their lungs where they cause seri-
menting that our day together began       and forth in 5-minute increments.               ous damage. We have addressed asbes-
and ended with citizen science. The         The PRESIDING OFFICER. Is there               tos in this bill. We didn't ban it on this
very first thing we did was to visit      objection?                                      bill, which I support-and I have stand-
Delaware's national park to participate     The Senator from California.                  alone legislation to do that-but we
in a bio blitz, where volunteers from all   Mrs. BOXER. Reserving the right to            have made asbestos a priority in this
over the country were identifying spe-    object, Mr. President, I want to make a         bill.
cies and categorizing the threats to      little clarification.                              Flame retardants are another cat-
them from climate change. The very          Senator UDALL has asked for 10 min-           egory of dangerous chemicals. They
last thing we did was to count horse-     utes. If we could use our time, allowing        have been linked to a wide array of se-
shoe crabs along the Cape Henlopen        this Senator 10 minutes, and then after         rious health problems, including can-
shore. I must say that my colleague       Senator VITTER's time, we would go to           cer, reduced IQ, developmental delays,
from Rhode Island, even though there      Senator UDALL for 10 minutes and then           obesity, and reproductive difficulties.
was driving rain and there were dif-      back to the other side. Then Senator            These harmful chemicals have been
ficult conditions, was passionate and     MARKEY wanted 5 minutes and Senator             added to dozens of everyday items such
determined to do everything we could      WHITEHOUSE wanted 5 minutes as well-            as furniture and baby products. So
to contribute to the counting effort of   if it would go in that order as stated,         when we are talking about TSCA re-
the horseshoe crabs that day. It was a    with 10 for myself, 10 for Senator              forming the toxic laws, we are not just
terrific opportunity to see a State that  UDALL, 5 for Senator MARKEY, and 5 for          talking about a conversation, we are
is engaged in planning and preparation    Senator WHITEHOUSE.                             not just talking about a theory, we are
and to witness one of the most remark-      Mr. INHOFE. I believe that adds up            not talking about something you would
able migrations across our globe.         to our 45 minutes, and I will just not          address in a classroom. We are talking
  I want to express my gratitude to       speak until after the vote.                     about our families.
Senator WHITEHOUSE for his leadership       The PRESIDING OFFICER. Is there                  Now, the negotiations have been
on this issue.                            objection to modifying the request?             challenging. Many organizations in
  Mr. WHITEHOUSE. Will the Senator          Mrs. BOXER. There would be 5 min-             many States stood strong despite the
yield for a question?                     utes left, if that is all right.                pressure to step back, and I am so
  Mr. COONS. The Senator will yield         Mr. INHOFE. I will amend my unani-            grateful to them for their persistence. I
for a question.                           mous consent request.                           especially want to thank the 450 orga-
  Mr. WHITEHOUSE. Were we, indeed,          The PRESIDING OFFICER. Is there               nizations that were part of the Safer
the two wettest Senators that day?        objection?                                      Chemicals, Healthy Families coalition
  Mr. COONS. We were, indeed, the           Without objection, it is so ordered.          that worked with me, as well as the As-
most persistently wet Senators in the       Mrs. BOXER. Mr. President, I want             bestos Disease Awareness Organization
entire country by the end of a very wet   to start off by thanking my dear                for their efforts. Without them, I would
and very fulfilling day up and down the   friend, Senator INHOFE. We have had a           not have had the ability to negotiate
State of Delaware.                        wonderful relationship when it comes            important improvements.
  With that, I thank my colleague from    to the infrastructure issues. We have              Let me highlight briefly a few of the
Rhode Island.                             not worked terribly well together on            most important changes in the final
  I yield the floor.                      environmental issues, but because of            bill. I can't go one more minute with-
  The PRESIDING OFFICER. The Sen-         both of our staffs and the Members of           out thanking the two people who are
ator from Oklahoma.                       our committee on both sides of the              sitting right behind me, Bettina
                                          aisle, we were able to tough it out and         Poirier, who is my chief of staff on the
                                          come up with a bill that I absolutely           committee and chief counsel, and
TSCA MODERNIZATION ACT OF 2015 believe is better than current law.                        Jason Albritton, who is my senior ad-
  Mr. INHOFE. Mr. President, I ask          I will be entering into the RECORD ad-        viser. They worked tirelessly-through
that the Chair lay before the Senate ditional views by four leading Demo-                 the night sometimes-with Senator
the message to accompany H.R. 2576.       cratic negotiators-myself, Senator              INHOFE'S staff. Without their work, we
  The Presiding Officer laid before the UDALL, Senator MERKLEY, and Senator               never would have gotten to this point,
Senate the following message from the MARKEY.                                             and we never would have gotten to a
House of Representatives:                   I rise in support of H.R. 2576, the           bill worthy of Frank's name, and it
  Resolved, That the House agree to the Frank R. Lautenberg Chemical Safety               means a great deal to me.
amendment of the Senate to the bill (H.R. for the 21st Century Act. I spoke at               The first major area of improvement
2576) entitled "An Act to modernize the length about this before, so I won't go           is the preemption of State restrictions




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 on toxic chemicals. In the final bill, we   ance Act, or "Trevor's Law." Trevor's         Mrs. BOXER. I say to the States: You
 were able to make important excep-          Law provides localities that ask for it     are free to act with a bad EPA. Com-
 tions to the preemption provisions.         a coordinated response to cancer clus-      pared to where we started, we have a
   First, the States are free to take        ters in their communities.                  much better balance between the
 whatever action they want on any               What Trevor taught us from his expe-     States and the Federal Government. It
 chemical until EPA has taken a series       rience with a horrible cancer is that       is not perfect. The bills I worked on
 of steps to study a particular chemical.    sometimes these outbreaks occur and         with Frank did not do this. They did
 second, when EPA announces the              no one knows why. Yet it is considered      not preempt the States. But because of
 chemicals they are studying, the            a local issue. Now, if the local commu-     this challenging journey, we respected
 states still have up to a year and a half   nity requests it-if they request it--       each other on both sides, we listened to
 to take action on these particular          they will get help.                         each other on both sides, and today is
 chemicals to avoid preemption until            Fourth, we have something called         a day we can feel good about.
 the EPA takes final action.                 persistent chemicals. Those are chemi-        We have a decent bill, a Federal pro-
   Third, even after EPA announces its       cals that build up in your body. You        gram, and the States will have a lot of
regulation, the States have the ability      just don't get rid of them. They are a      latitude to act.
to get a waiver so they can still regu-      priority in this legislation.                 I yield the floor.
late the chemical, and we have made             Fifth, another one that is dear to my      The PRESIDING OFFICER. The Sen-
improvements to that waiver to make          heart and dear to the heart of Senator      ator from Louisiana.
it easier for States to act.                 MANCHIN and Senator CAPITO is this            Mr. VITTER. Mr. President, I rise
   For chemicals that industry has           provision that ensures that toxic           also to laud a really significant
asked EPA to study, we made sure that        chemicals stored neared drinking            achievement that we are going to final-
States are not preempted until EPA           water are prioritized. This provision       ize tonight with the final passage of
issues a final restriction on the chem-      was prompted by the serious spill that      the Frank R. Lautenberg Chemical
ical, and for that I really want to          contaminated the drinking water sup-        Safety for the 21st Century Act.
thank our friends in the House. They         plies in West Virginia in 2014, causing       This much needed bill will provide
put a lot of effort into that.               havoc and disruption. They didn't           updates that have been due literally for
   The first 10 chemicals EPA evaluates      know what the chemical was. It got          decades to the Toxic Substances Con-
under the bill are also exempted from        into the water. They didn't know what       trol Act of 1976, known as TSCA for
preemption until the final rule is           to do. As we all remember, it was a         short, which has been outdated and
issued. Also, State or local restrictions    nightmare for the people there-no           overdue for updating since almost that
on a chemical that were in place before      more. Now we are going to make sure         time. Now, getting to where we are to-
April 22, 2016, will not be preempted.       that the EPA knows what is stored           night, about to pass this by an over-
   So I want to say, as someone who          near drinking water supplies.               whelming vote, following the 403-to-12
comes from the great State of Cali-             The sixth is very important and is       vote in the House a few weeks ago, did
fornia-home to almost 40 million peo-        something that got negotiated in the        not happen overnight. In fact, it took
ple and which has a good strong pro-         dead of night. I want to thank Senator      about 5-plus years.
gram-we protected you. Would I rath-         INHOFE's staff for working with my            In 2011 I started discussions with a
er have written this provision myself?       staff on this. The bill enables EPA to      broad array of folks, certainly includ-
Of course, and if I had written it myself    order independent testing if there are      ing Senator Lautenberg. That is when I
                                             safety concerns about a chemical, and       first sat down with Frank and started
I would have set a floor in terms of this    these tests will be paid for by the
standard and allowed the States to           chemical manufacturer. I also want to       this process in a meaningful way and
take whatever action they wanted to          thank Members of the House who real-        when we agreed that we would try to
make it tougher. But this was not to         ly brought this to us.                      bridge the significant differences be-
be. This was not to be. So because I            Finally, even the standard for evalu-    tween our two viewpoints and come up
couldn't get that done, what we were         ating whether a chemical is dangerous       with a strong bipartisan bill.
able to get done were those four or five     is far better than in the old TSCA. The       That same year I also sat down with
improvements that I cited.                   bill requires EPA to evaluate chemi-        JOHN SHIMKUS of Illinois to let him
   The States that may be watching           cals based on risks, not costs, and con-    know that Frank and I were going to
this debate can really gear up and           siders the impact on vulnerable popu-       put in a lot of effort to come up with
move forward right now. There is time.       lations. This is really critical. The old   this framework, and we wanted him to
You can continue the work on regula-         law was useless. So all of these fixes      be a full and equal and contributing
tions you passed before April. You can       make this bill better than current Fed-     partner. Over the next year and a half,
also have a year and a half once EPA         eral law.                                   we slogged through that process of try-
announces the chemical, and if they             Looking forward, I want to make a        ing to come up with a strong bipartisan
don't announce anything, you can go          point. This new TSCA law will only be       bill. It wasn't easy. Between Senator
back to doing what you did before. An        a,s good as the EPA is good. With a         Lautenberg and myself and our staffs
EPA that is not funded right, I say to       good EPA, we can deliver a much safer       and other staffs, there was an often
my dearest friend on the floor today, is     environment for the American people-        brutal stretch of difficult negotiations
not going to do anything. So the States      safer products, less exposure to harm-      and challenging times, testing every-
will have the ability to do it. I would      ful toxics, and better health for our       body's patience.
hope we would fund the EPA so we             people. With a bad EPA that does not          Several times we walked away to
have a strong Federal program and            value these goals, not much will get        come back together again. Finally, it
strong State programs as well. But we        done. But, again, if a bad EPA takes no     did come together. In early 2013, that
will have to make sure that the EPA          action, States will be free to act.         really started taking shape. Toward
doesn't continually get cut.                    Mr. President, I ask for 30 additional   the end of April 2013, we were far
   The second area of improvement con-       seconds, and I will wrap this up.           enough along to lock a small group of
cerns asbestos. I think I have talked           Mr. INHOFE. Reserving the right to       staff and experts in a room to finalize
about that before. It is covered in this     object, we do have this down with five      that first bipartisan bill. There were
bill.                                        people.                                     folks like Bryan Zumwalt, my chief
   The third area of improvement con-           Mrs. BOXER. I ask unanimous con-         counsel then; Dimitri Karakitsos, who
cerns cancer clusters. This one is so        sent for 30 seconds. I am just going to     is my counsel and is now a key staffer
dear to my heart and to the heart of         end with 30 seconds, and I will add 30      who continues on the EPW Committee;
my Republican colleague, Senator             seconds to your side.                       Senator Lautenberg's chief counsel,
CRAPO. We wrote a bill together called          The PRESIDING OFFICER. Without           Ben Dunham; and his chemical adviser,
the Community Disease Cluster Assist-        objection, it is so ordered.                Brendan Bell.




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7980                            CONGRESSIONAL RECORD-SENATE, Vol. 162, Pt. 6                                      June 7, 2016
  That led finally to this first bipar-      DuVall, Robert Flagg, and, of course        INHOFE in the future in terms of many
tisan bill that we introduced on May         their leader, Cal Dooley.                   other issues that come before us in the
23, 2013. Now, that wasn't the end of          Finally, there is one enormous figure     Senate.
our TSCA journey. Unfortunately, in          who is owed a great debt of gratitude         I don't have any doubt that this is a
many ways, the most difficult segment        and a lot of credit for seeing this over    historic moment several years and
of that journey was soon after that in-      the goal line tonight; that is, Frank's     Congresses in the making. For the first
troduction on May 23, because on June        better half-and I say that with deep        time in 40 years, the United States of
3, just a few weeks later, Frank passed.     respect and admiration to Frank, but        America will have a chemical safety
The single greatest champion of re-          surely his better half-Bonnie Lauten-       program that works and that protects
forming how chemicals are regulated          berg. She has been called the 101st Sen-    our families from dangerous chemicals
died at 89 years of age.                     ator, particularly on this issue. She       in their daily lives. This is significant.
  That was heartbreaking. But it was a       was devoted to seeing Frank's work          Most Americans believe that when
moment when all of us who had been           completed. I thank her for her relent-      they buy a product at the hardware
involved only redoubled our commit-          less effort reaching out to Members in      store or the grocery store, that product
ment to following this through to the        the House and Senate and stakeholders       has been tested and determined to be
end. Soon after Frank's unfortunate          to make sure this happened.                 safe. But that is not the case.
passing, our colleague TOM UDALL real-         As I mentioned at the beginning, this
ly stepped up to the plate in a major        is long overdue. All stakeholders across      Americans are exposed to hundreds of
way to take Frank's role as the Demo-        the political spectrum agreed for dec-      chemicals from household items. We
cratic lead in this effort. We had a         ades that this aspect of the law needed     carry them around with us in our bod-
quiet dinner one night here on Capitol       to be updated. We needed to fully pro-      ies and even before we are born. Some
Hill to talk about our commitment to         tect public health and safety, which we     are known as carcinogens, others as
carry on this fight and get it done. We      all want to do. We also needed to en-       highly toxic. But we don't know the
formed a partnership and a friendship        sure that American companies, which         full extent of how they affect us be-
that was really built around this work       are world leaders today in science, re-     cause they have never been tested.
with an absolute commitment to get           search, and innovation remain so and        When this bill becomes law, there will
that done. I will always be so thankful      do not get put behind a regulatory sys-     finally be a cop on the beat.
to TOM and his partnership and also to       tem which is overly burdensome and            Today, under the old TSCA, review-
his great staff, including their senior      unworkable.                                 ing chemicals is discretionary. When
policy adviser, Jonathan Black.                This TSCA reform bill, properly           this bill is law, the EPA will be re-
   As with most major undertakings, we       named      after     Frank  Lautenberg,     quired to methodically review all exist-
had a lot of other help all along the        achieves those goals. It is a positive,     ing chemicals for safety, starting with
way. Early on, at that stage of the          workable compromise in the best sense       the worst offenders. Today, the old law
process, Senators CRAPO and ALEX-            of that term, so that we will achieve       requires that the EPA consider the
ANDER were extremely helpful. Also, a        public health and safety. It ensures        costs and benefits of regulation when
little later on, Senators BOOKER,            that our leading American companies,        studying the safety of chemicals. Very
MERKLEY, and MARKEY did a lot to ad-         great scientists, great innovators, and     soon, EPA will have to consider only
vance the ball and refine the product.       great world leaders in this sector re-      the health and environmental impacts
Of course, at every step of the way, I       main just that and that they remain         of a chemical. If they demonstrate a
continued to meet and talk with Con-         the world leaders we want and need          risk, EPA will have to regulate.
gressman JOHN SlllMKUS. He was a per-        them to continue to be.                       Very soon, it will be enshrined in the
sistent and a reliable partner in this         So I thank all of those who have con-     law that the EPA most protect the
process, as was his senior policy ad-        tributed to this long but ultimately        most     vulnerable     people-pregnant
viser, Chris Sarley.                         successful and worthwhile effort. With      women, infants, the elderly, and chem-
  Throughout this process, staff was         that, I look forward to our vote.           ical workers. Today, the old TSCA puts
absolutely essential and monumental.           I yield the floor.                        burdensome testing requirements on
They did yeoman's work in very, very           The PRESIDING OFFICER. The Sen-           the EPA. To test a chemical, the EPA
difficult and trying circumstances. I        ator from New Mexico.                       has to show a chemical possesses a po-
mentioned Bryan Zumwalt, my former             Mr. UDALL. Mr. President, let me          tential risk, and then it has to go
chief counsel. He was a driving force        just initially, while Senator VITTER is     through a long rulemaking process.
behind this. I deeply appreciate and ac-     still on the floor here, thank him so
                                             much. He was a great partner in terms         Very soon, EPA will have authority
knowledge his work, as well as some-                                                     to order testing without those hurdles.
one     else I     mentioned,      Dimitri   of working on this piece of legislation     Today, the old TSCA allows new
Karakitsos, who continues to work as a       thoroughly through the process over 3       chemicals to go to market without any
key staffer on the committee and who         years. We met, I think, about 3 years
                                             ago and had a dinner and decided, after     real review, an average of 750 a year.
is seeing this over the goal line.                                                       Very soon, the EPA will be required to
  Let me also thank Ben Dunham, the          Frank Lautenberg had died-he did a          determine that all chemicals are safe
former chief counsel to Senator Lau-         lot of work on the bill-that we would       before they go to the market.
tenberg. I think in the beginning, par-      pick it up and make it happen. He has
ticularly, Ben, Bryan, and Dimitri gave      been a man of his word, and it has been       Today, the old TSCA allows compa-
each other plenty of help but worked         a real pleasure working with him.           nies to hide information about their
through very difficult negotiations to         Let me just say about Chairman            products, claiming it is confidential
get it done.                                 INHOFE that what they say in the Sen-       business information, even in an emer-
  Also, I want to thank Jonathan             ate is that if you have a strong chair-     gency. Very soon, we will ensure that
Black and Drew Wallace in Senator            man, you can get a bill done. He has        companies can no longer hide this vital
UDALL'S office and Michal Freedhoff          been remarkable in terms of his             information.
and Adrian Deveny in Senator MAR-            strength and his perseverance in terms        States, medical professionals and the
KEY's office.                                of moving this bill. So we are at a very,   public will have access to the informa-
  On the outside, there are a lot of ex-     very historic point today. I think I        tion they need to keep communities
perts from all sorts of stakeholders         would call it a historic moment. I          safe. Businesses will have to justify
across the political spectrum, certainly     thank the Senator. It has been a pleas-     when they keep information confiden-
including industry representatives           ure working with the Senator. I en-         tial. That right will expire after 10
with the American Chemistry Council.         joined working with the Senator when        years. Today, the old TSCA underfunds
I want to thank Mike Walls, Dell             I was on the committee, and I am going      the EPA so it doesn't have the re-
Perelman, Rudy Underwood, Amy                to enjoy working with Chairman              sources to do its job.




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   very soon, there will be a dedicated          In the beginning, we thought the bill     am going to stay with Senator INHOFE
 funding stream for TSCA. It will re-         might not ever get introduced in the         and thank additional people because I
 quire industry to pay its share, $25 mil-    Senate. We entered this Congress after       think it is that important, but we have
 lion a year. In addition, this new law       the Republicans took the majority.           this time agreement, and we need to
 will ensure victims can get access to        Many felt that strong environmental          move on.
 the courts if they are hurt. It will revo-   legislation was impossible. They urged          I yield to Senator MARKEY for 5 min-
 lutionize unnecessary testing on ani-        us to wait. But many of us felt that 40      utes, and then we are going to Senator
 mals, and it will ensure that States can     years was already too long to wait. We       WHITEHOUSE for 5 minutes unless there
 continue to take strong action on dan-       knew we could do it, make it better,         is a Republican to intervene. Chairman
gerous chemicals.                             and get it passed.                           INHOFE, is that correct?
   The Senate is about to pass this leg-         Senator CARPER was one of those key          Mr. INHOFE. That is right.
islation. It is going to the President,       members on the Environment Com-                 I would also say that I will forgo my
and he will sign it. Over the past sev-       mittee. He gave us legs to get out of        remarks in order to give them more
eral days, I have gotten the same ques-       the gate. He and Senators MANCHIN and        time until after the vote.
tion over and over: What made this leg-       COONS were among our original cospon-           The PRESIDING OFFICER. Who
islation different? Why was the agree-        sors. They recognized that we had a          yields time?
                                              great opportunity before us, and I              Mr. UDALL. I yield time to-the
ment possible when other bills stalled?                                                    agreement, as I understand it, is that
I thought about it quite a bit. It wasn't     thank them all.
                                                 They say that in order to get things      Senator MARKEY will speak for 5 min-
that the bill was simple. This was one                                                     utes and Senator WHITEHOUSE for 5
of the most complex environmental             done in Washington, you need a good,
                                              strong chairman, and Chairman INHOFE         minutes and then back to the Chair.
pieces of legislation around. It cer-                                                         Mr. INHOFE. Yes, that is already a
tainly wasn't a lack of controversy.          fits that description. I thank Chairman
                                              INHOFE and especially his staff, Ryan        unanimous consent.
This process almost fell apart many                                                           The PRESIDING OFFICER. The Sen-
times. It certainly wasn't a lack of in-      Jackson and Dimitri Karakitsos.
                                              Chairman INHOFE's team was instru-           ator from Massachusetts.
terest from stakeholders. Many groups                                                         Mr. MARKEY. Mr. President, today
were involved, all with strong and pas-       mental in moving things forward and
                                              working with me to ensure that we            Congress stands ready to reform the
sionate views and some with deep dis-                                                      last of the core four environmental
trust. We faced countless obstacles, but      built the broadest possible support.
                                              They knew that with broad support, we        statutes. It may do so with a stronger
I think what made this possible was                                                        bipartisan vote than any other major
the commitment and the willpower by           could do better than get it out of com-
                                              mittee, we could get it across the fin-      environmental statute in recent Amer-
everyone involved to see good legisla-                                                     ican history.
tion through and endure the slings and        ish line.                                       For a generation, the American peo-
                                                 There are days when we all feel dis-      ple have been guinea pigs in a terrible
the arrows. I say a heartfelt thank-you       couraged by gridlock here in Wash-
to everyone involved.                         ington, but Chairman INHOFE and Sen-         chemical experiment. Told that all the
   I remember having dinner with Sen-                                                      advances in our chemistry labs would
ator VITTER one evening early on when         ator VITTER rose above that. They saw
                                              the value of working together across         make us healthier, happier, and safer,
I was trying to decide whether I would        party and across House and Senate.           American families have had to suffer
take up Frank Lautenberg's work on               Senators BOOKER, MERKLEY' and             with decades of a law that did nothing
this bill. There was already plenty of        WHITEHOUSE all understood that we            to ensure that was true. That is be-
controversy and concern about the bill.       could work together. I thank them,           cause when the industry successfully
Senator VITTER and I were not used to         too, for sticking with this bill and         overturned the EPA's proposed ban on
working with each other. In fact, we          working through differences. As a re-        asbestos, it also rendered the Toxic
have almost always been on opposite           sult of their efforts, the bill gives        Substance Control Act all but unus-
sides. But I left that dinner with the        States stronger protections, it helps re-    able. Children shouldn't be unwitting
feeling that Senator VITTER was com-          duce unnecessary testing on animals,         scientific subjects. Today we have a
mitted, that he wanted to see this            and it includes a number of other im-        chance to protect them by reforming
process through and was willing to do         provements. Their staff-Adam Zipkin,         this failed law.
what it would take. For 3 years, I never      Adrian Deveny, and Emily Enderle,               As ranking Democrat on the Senate
doubted that. Both of us took more            among others-were key.                       subcommittee of jurisdiction, I was one
than a little heat. We both had to push          A strong bipartisan vote of 15 to 5 out   of a handful of Members who partici-
hard and get important groups to the          of the committee set us up for action        pated in an informal conference with
table and make sure they stayed at the        on floor. As many of you know, floor         the House. With Senators UDALL,
table. I thank Senator VITTER. He has          time is valuable and hard to come by        BOXER, and MERKLEY, I have prepared a
been a true partner in this process.          and subject to nonpertinent issues. We       document that is intended to memori-
   There are many others to thank, and        needed to work to ensure the broadest        alize certain agreements made in the
I will, but before I do that, I want to        possible support. We did that with Sen-     bicameral negotiations that would
say a few words about this bill's name-       ators DURBIN and MARKEY, our 59th and        typically have been included in a con-
sake. Frank Lautenberg was a cham-            60th cosponsors of our legislation. I        ference report.
pion for public health and a dogged, de-       thank them and their staff members,            In our work with the House, we truly
termined leader for TSCA reform. He           Jasmine Hunt and Michal Freedhoff,           did take the best of both bills when it
cared so much for his children and            for their important work to improve          came to enhancing EPA's authority to
grandchildren that he wanted to leave          key aspects of the Federal program,         regulate chemicals.
a better, healthier, safer environment        such as fees and implementation dates,          The degree to which States will be
for them. He always said that TSCA re-        and to ensure that we could pass this        preempted as the Federal Government
form would save more lives than any-           bill through the Senate.                    regulates chemicals has been a source
thing he ever worked on.                         The PRESIDING OFFICER (Mr.                of considerable debate since this bill
   This is a bittersweet moment for all        ROUNDS). The time of the Senator has        was first introduced. I have always
of us because Frank isn't here to see          expired.                                    been a very strong supporter of States'
this happen, but I have faith that he is         Mr. UDALL. Mr. President, has my           rights to take actions needed to pro-
watching us and he is cheering us on.          time expired?                                tect their own residents. For many of
His wife Bonnie has been here working            The PRESIDING OFFICER. Yes, it             us, accepting preemption of our States
as the 101st Senator. She has been a           has.                                         was a difficult decision that we only
force and inspiration, keeping us going,         Mr. UDALL. Thank you very much.            made as we also secured increases to
pushing us when we needed it. She                Let me just say that I am going to         the robustness of the EPA chemical
helped us fulfill Frank's vision.              stay over. I thank the two Senators. I      safety program.




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  I am particularly pleased that efforts Vaught, Nicole Distefano, Sven-Erik           Senator VITTER and Senator UDALL
I helped lead resulted in the assurance Kaiser, and Tristan Brown.                  forged the original notion that this
that Massachusetts' pending flame re-      The PRESIDING OFFICER. The time          compromise could be made to happen,
tardant law will not be subjected to of the Senator has expired.                    and they have seen it through, so I con-
pause preemption and that there is a       Mr. MARKEY. Mr. President, I ask         gratulate them.
mechanism in the bill to ensure that unanimous consent for 1 additional                The House had a rather different
States' ongoing work on all chemicals minute.                                       view of how this bill should look. Be-
can continue while EPA is studying         The PRESIDING OFFICER. Is there          tween Senator INHOFE, Senator UDALL,
those chemicals.                         objection?                                 Representative PALLONE, and Rep.
  The fact that the bill is supported by   Without objection, it is so ordered.     resentative UPTON, they were able to
the EPA, the chemical industry, the        Mr. MARKEY. I also thank Ryan            work out a bicameral as well as a bi-
chamber of commerce, and the trial Schmit, Don Sadowsky, and Scott                   partisan compromise that we all could
lawyers tells you something. The fact Sherlock.                                     agree to.
that a staggering 403 Members of the       I want to thank Stephenne Harding           There are a lot of thanks involved,
House of Representatives voted for this and Andrew Mcconville at CEQ, whose         but I close by offering a particular
TSCA bill-more than the number who day-to-day engagement helped us, espe-           thank-you to my friend Senator
agreed to support the Clean Air Act, cially in these last few weeks.                UDALL. In Greek mythology there is a
the Clean Water Act, or the Safe           There are some outside stakeholders      Titan, Prometheus, who brought fire to
Drinking Water Act amendments when who worked particularly closely with             humankind. His penalty for bringing
those laws were reauthorized-tells you my staff and with me, including An-          fire to humankind was to be strapped
something. What it tells you is that we drew Rogers, Andrew Goldberg, Rich-         to the rock by chains and have Zeus
worked together on a bipartisan and bi- ard Denison, Joanna Slaney, Mike            send an eagle to eat his liver every sin-
cameral basis to compromise in the Walls, Rich Gold, and Scott Faber.               gle day. It is an image of persisting
way Americans expect us to.                I have enjoyed meeting, working          through pain. I do have to say Senator
  Although there are many people who with, and partnering with each one of          VITTER may have had his issues on his
helped to create this moment, I wish to these outstanding people over the last      side-I do not know how that looked-
thank some whose work over the past year.                                           but I can promise on our side TOM
few months I especially want to recog-     This is a huge bill. It is a historic    UDALL persisted through months and
nize.                                    moment. It is going to make a dif-         months of pain, always with the view
  I thank Bonnie Lautenberg. On be- ference in the lives of millions of             that this bill could come to the place
half of her husband Frank, she was re- Americans. It is the most significant        where this day could happen.
lentless.                                environmental law passed in this gen-         There are times when legislation is
  Senator INHOFE and his staffers, eration.                                         legislation, and there are times when
Ryan Jackson and Dimitri Karakitsos,       The PRESIDING OFFICER. The time          legislation has a human story behind
remained as committed to agreements of the Senator has expired.                     it. This is a human story of courage,
they made about Senate Democratic          Mr. MARKEY. The old law did not          foresight, persistence, patience, and
priorities as they were to their own work. This one is going to protect the         willingness to absorb a considerable
commitment priorities throughout this American people.                              number of slings and arrows on the way
process. I couldn't have imagined a        I yield back the remainder of my         to a day when slings and arrows are fi-
stronger or more constructive partner-· time.                                       nally put down and everybody can
ship.                                      The PRESIDING OFFICER. The Sen-          shake hands and agree we have, I
  I would like to thank Senator UDALL ator from Rhode Island.                       think, a terrific victory. While there is
and his staffers, Drew Wallace and Jon-    Mr. WHITEHOUSE. Mr. President, as        much credit in many places, my heart
athan Black, whose leadership-espe- the song said, it has been a long,              in this is with Senator TOM UDALL of
cially during these challenging mo- strange trip getting here, and it has           New Mexico.
ments-was very important.                had its share of near-death experiences,      Mr. President, I yield the floor.
  I also thank Senator MERKLEY and as Senator UDALL is intimately aware                The PRESIDING OFFICER. The Sen-
his staff, Adrian Deveny, whose cre- of. I was involved with Senator                ator from Oregon.
ativity often led us to legislative MERKLEY and Senator BOOKER in one of               Mr. MERKLEY. Mr. President, today,
breakthroughs, especially when it those near-death experiences. If this             while the Nation has been focused on
came to crafting certain preemption was a rocket with stages, one of the            the final six primaries across the Na-
compromises.                             major stages was the Merkley-Booker-       tion, the final six State primaries
  My own staff, Michal Freedhoff, has Whitehouse effort in the committee. I         across the Nation, something extraor-
done little but this for 1 consecutive just wanted to say it was the first time     dinary is unfolding here on the floor of
year. This is her 20th year on my staff. the three of us worked together as a       the Senate. The Senate is taking the
With her Ph.D. in biochemistry-it was triumvirate. They were wonderful to           final congressional act to send the
invaluable in negotiating with the work with. They were truly a pleasure.           Frank R. Lautenberg Chemical Safety
American Chemistry Council and all We had a lot on our plates. We made              for the 21st Century Act to the Presi-
other interests.                         about a dozen major changes in the         dent's desk.
  I want to thank many other Mem- bill.                                               This is landmark legislation that
bers: Senator BoXER; Senator WHITE-        I want to take just a moment to          honors the legacy of our dear colleague
HOUSE and his staff, Bettina, along with thank Emily Enderle on my staff, who       Frank Lautenberg. This is landmark
BARBARA BOXER; Senator MCCONNELL; was terrific through all of the negotia-          legislation that will make a real dif-
Senator REID; Senator DURBIN-all cen- tions and renegotiations and counter-         ference for the health and safety of
tral players in making sure this legis- negotiations in that stage. But this        every American. This is the first sig-
lation was here today.                   was obviously a rocket that had many       nificant environmental legislation to
  I thank the spectacular and hard- more stages than that one.                      be enacted by this Chamber in 25 years.
working EPA team, all of whom pro-         I thank Chairman INHOFE and his            This bill-this extraordinary bill-
vided us with technical assistance and staff for their persistence through all      brought Democrats and Republicans
other help, often late at night and be- of this.                                    together to take action to protect pub-
fore the dawn.                             Ranking Member BOXER was relent-         lic health. I have been honored to be a
  I thank Gina McCarthy, Jim Jones, less in trying to make this bill as             part of this coalition as we have
Wendy Cleland-Hamnet, Ryan Wallace, strong as she could make it through             worked toward a final bill for over a
Priscilla Flattery, Kevin McLean, every single stage, and it is marked by           year. It hasn't been easy, but things
Brian Grant, David Berol, Laura that persistence.                                   worth doing are rarely easy.




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  A huge thank-you to Senators UDALL           from the carpet that included these             the failure to explicitly authorize risk eval-
  and VI'ITER, who cosponsored this bill,      cancer-causing flame retardants. It             uations on mixtures calls into question
  Jead the way; Senators BOXER and             should never have happened, but we did          EPA's authority to evaluate the risks from
  JNH0FE, the chair and ranking member         not have the type of review process             chemical substances in mixtures.
                                                                                                 The definition of 'conditions of use' de-
  of the Environment Committee; and            that protects Americans. Now we will.           scribed above plainly covers all uses of a
  Senators MARKEY, WHITEHOUSE, and               So, together, a bipartisan team has           chemical substance, including its Incorpora-
  BOOKER for their leadership and con-         run a marathon, and today we cross the          tion in a mixture, and thus would clearly en-
  tributions throughout this entire proc-      finish line. In short order, this bill will     able and require, where relevant, EPA to
  ess.                                         be sitting in the Oval Office, on the           evaluate the risks of the chemical substance
    Also, a special thank-you to the staff     President's desk, and he will be putting        as a component of a mixture.
  who worked day and night. I know I re-       ink to paper and creating this new and                          3. NEW CHEMICALS
  ceived calls from my staff member            powerful tool for protecting the health           While existing TSCA does not preclude
 Adrian Deveny at a variety of hours on        of American citizens. That is an enor-          EPA from reviewing new chemicals and sig-
 a variety of weekends as he worked            mous accomplishment.                            nificant new uses following notification by
  with other staff members to work out,          Mr. President, on behalf of Senator           the manufacturer or processor, it does not
 iron out the challenges that remained,        BOXER, the printing cost of the state-          require EPA to do so or to reach conclusions
                                               ment of additional views with respect           on the potential risks of all such chemicals
 so a special thank-you to Adrian                                                              before they enter the marketplace. EPA has
 Deveny.                                       to H.R. 2576, TSCA, will exceed the             authority to issue orders blocking or lim-
    Just a short time ago, I had the           two-page rule and cost $2,111.20.               iting production or other activities if it finds
 chance to speak to Bonnie Lautenberg,           I ask unanimous consent that the              that available Information Is inadequate and
 Frank Lautenberg's wife. She would            Boxer statement of additional views be          the chemical may present an unreasonable
 have loved to have been here when we          printed in the RECORD.                          risk, but the burden Is on EPA to Invoke this
 took this vote, but she is going to be          There being no objection, the mate-           authority; if It falls to do so within the 90---
 down in the Capitol next week with            rial was ordered to be printed in the           180 day review period, manufacture of the
                                               RECORD, as follows:                             new chemical can automatically commence.
 children and grandchildren. I hope to                                                         This bill makes significant changes to this
 get a chance to really thank her in per-      DETAILED ANALYSIS AND ADDITIONAL VIEWS          passive approach under current law: For the
 son for her husband's leadership but            OF DEMOCRATIC MEMBERS ON THE MOTION TO        first time, EPA will be required to review all
 also for her leadership, her advocacy           CONCUR IN THE HOUSE AMENDMENT TO THE          new chemicals and significant new uses and
 that we reached this final moment. She          SENATE AMENDMENT TO THE BILL H.R. 2576        make an affirmative finding regarding the
                                                 ENTITLED "AN ACT TO MODERNIZE THE             chemical's or significant new use's potential
 said to me: It appears it takes a village       TOXIC SUBSTANCES CONTROL ACT, AND FOR
 to pass a bill. Well, it does. This village                                                   risks as a condition for commencement of
                                                 OTHER PURPOSES" JUNE 7, 2016                  manufacture for commercial purposes and,
 was a bipartisan village. This was a bi-        As the lead Senate Democratic negotiators
 cameral village. It has reached a suc-                                                        In the absence of a finding that the chemical
                                               on H.R. 2576. (hereinafter referred to as the   or significant new use Is not likely to
•cessful conclusion.                           Frank R. Lautenberg Chemical Safety for         present an unreasonable risk, manufacture
   In the most powerful Nation on              the 21st Century Act), we submit the fol-       will not be allowed to occur. If EPA finds
 Earth, we should not be powerless to          lowing additional views that describe the in-   that it lacks sufficient Information to evalu-
 protect our citizens from toxic chemi-        tent of the negotiators on elements of the      ate the chemical's or significant new use's
 cals in everyday products. Today              final bill text.                                risks or that the chemical or significant new
 marks a sea shift in which we finally                         I. "WILL PRESENT"               use does or may present an unreasonable
 begin to change that. For too long, we          Existing TSCA as in effect before the date    risk, It is obligated to issue an order or rule
 have been unable to protect our citi-         of enactment of Frank R. Lautenberg Chem-       that precludes market entry or Imposes con-
                                               ical Safety for the 21st Century Act includes   ditions sufficient to prevent an unreasonable
 zens from toxic chemicals that hurt                                                           risk. EPA can also require additional test-
 pregnant women and young children,            the authority, contained In several sections
                                               (see, for example, section 6(a)). for EPA to    ing. Only chemicals and significant new uses
 chemicals that hurt our children's de-        take regulatory actions related to chemical     that EPA finds are not likely to present an
 velopment, chemicals that cause can-          substances or mixtures if It determines that    unreasonable risk can enter production with-
 cer.                                          the chemical substance or mixture "presents     out restriction. This affirmative approach to
   The Frank R. Lautenberg Chemical            or will present" an unreasonable risk to        better ensuring the safety of new chemicals
 Safety for the 21st Century Act will          health or the environment.                      entering the market Is essential to restoring
 tremendously improve how we regulate            The Frank R. Lautenberg Chemical Safety       the public's confidence In our chemical safe-
 toxic chemicals in the United States-         for the 21st Century Act Includes language      ty system.
 those that are already in products and        that removes all Instances of "will present"                 4. UNREASONABLE RISK
                                               from existing TSCA and the amendments             TSCA as In effect before the date of enact-
 should no longer be used and those new        thereto. This does not reflect an Intent on
 chemicals that are invented that                                                              ment of the Frank R. Lautenberg Chemical
                                               the part of Congressional negotiators to re-    Safety for the 21st Century Act authorized
 should be thoroughly examined before          move EPA's authority to consider future or      EPA to regulate chemical substances if It de-
 they end up in products-and make              reasonably anticipated risks in evaluating      termined that the chemical substance "pre-
 sure that toxic chemicals don't find          whether a chemical substance or mixture         sents or will present an unreasonable risk of
 their way into our classrooms, into our       presents an unreasonable risk to health or      Injury to health or the environment." In Its
 bedrooms, into our homes, into our            the environment. In fact, a new definition      decision in Corrosion Proof Fittings vs EPA,
 workplaces. Now the Environmental             added to TSCA explicitly provides such au-      the U.S. Court of Appeals, 5th Circuit over-
                                               thority and a mandate for EPA to consider       turned EPA's proposed ban on asbestos, in
 Protection Agency will have the tools         conditions of use that are not currently
 and resources needed to evaluate the                                                          part because It believed that
                                               known or intended but can be anticipated to        "In evaluating what is "unreasonable," the
 dangerous chemicals and to eliminate          occur:                                          EPA Is required to consider the costs of any
 any unsafe uses.                                '(4) The term 'conditions of use' means the
                                                                                               proposed actions and to "carry out this
    My introduction to this issue began        circumstances, as determined by the Admin-      chapter In a reasonable and prudent manner
 with a bill in the Oregon State Legisla-      istrator, under which a chemical substance      [after considering] the environmental, eco-
 ture about the cancer-causing flame           is intended, known, or reasonably foreseen to   nomic, and social impact of any action." 15
 retardants that are in our carpets and        be manufactured, processed, distributed in      U.S.C. §2601(c).
                                               commerce, used, or disposed of'';                  As the District of Columbia Circuit stated
 our couches and the foam in our fur-
                                                                   2. MIXTURES                 when evaluating similar language governing
 niture that should not be there. This
 bill gives us the ability to review that        In section 6(b) of TSCA, as amended by the    the Federal Hazardous Substances Act,
                                               Frank R. Lautenberg Chemical Safety for         "[t]he requirement that the risk be 'unrea-
 and to get rid of those toxic chemicals.      the 21st Century Act, EPA is directed to un-    sonable' necessarily involves a balancing
    It was enormously disturbing to me         dertake risk evaluations on chemical sub-       test like that familiar in tort law: The regu-
 to find out that our little babies crawl-     stances in order to determine whether they      lation may issue If the severity of the Injury
 ing on the carpet, their noses 1 inch off     pose an unreasonable risk to health or the      that may result from the product, factored
 the ground, were breathing in dust            environment. Some have questioned whether       by the likelihood of the Injury, offsets the




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harm the regulation itself imposes upon             percent (if enough requests are submitted)               "(I) the likely effect of the rule on the na-
manufacturers and consumers." Forester v.           and 50 percent. The Administrator should set           tional economy, small business, techno-
CPSC, 559 F.2d 774 789 (D.C.Clr.1977). We have      up a system to ensure that those percentages           logical Innovation, the environment, and
quoted this language approvingly when eval-         are met and not exceeded in each fiscal year.          public health;
uating other statutes using similar lan-            An Informal effort that simply takes re-                 "(II) the costs and benefits of the proposed
guage. See, e.g., Aqua Slide, 569 F.2d at 839."     quests as they come in and hopes that the              and final regulatory action and of the 1 or
  The Frank R. Lautenberg Chemical Safety           percentages will work out does not meet the            more primary alternative regulatory actions
for the 21st Century Act clearly rejects that       requirement that the Administrator "en-                considered by the Administrator; and
approach to determining what "unreasonable          sure" that the percentages be met. Also,                 "(III) the cost effectiveness of the proposed
risk of Injury to health or the environment"        clause (E)(ii) makes clear that Industry re-           regulatory action and of the 1 or more pri-
means, by adding text that directs EPA to           quests for risk evaluations "shall be" subject         mary alternative regulatory actions consid-
determine whether such risks exist "without         to fees. Therefore, if at any point the fees           ered by the Administrator.
consideration of costs or other nonrisk fac-        Imposed by the Frank Lautenberg Act                      The language above specifies the informa-
tors" and, if they do, to promulgate a rule         (which are subject to a termination in sec-            tion on effects, exposures and costs that EPA
that ensures "that the chemical substance           tion 26(b)(6)) are allowed to lapse, industry's        is to consider in determining how to regulate
no longer presents such risk." In this man-         opportunity to seek risk evaluations will              a chemical substance that presents an unrea-
ner, Congress has ensured that when EPA             also lapse and the minimum 25 percent re-              sonable risk as determined in EPA's risk
evaluates a chemical to determine whether           quirement will not apply.                              evaluation.
it poses an unreasonable risk to health or          7. PACE OF AND LONG-TERM GOAL FOR EPA                    Senate Democratic negotiators clarify
the environment and regulates the chemical          SAFETY REVIEWS OF EXISTING CHEMICALS                   that sections 6(c)(2)(A)(i) and (II) do not re-
if it does, the Agency may not apply the sort     Existing TSCA grandfathered in tens of quire EPA to conduct a second risk evalua-
of "balancing test" described above.            thousands of chemicals to the inventory tion-like analysis to identify the specified
                5. PRIORITIZATION               without requiring any review of their safety. information, but rather, can satisfy these re-
  Section 6(b) of TSCA, as amended by the       The    Frank R. Lautenberg Chemical Safety quirements on the basis of the conclusions
Frank R. Lautenberg Chemical Safety for process 21st
                                                for   the         Century Act sets in motion a regarding the chemical's health and environ-
                                                            under
the 21st Century Act, defines high-priority time systematically      which EPA will for the first mental effects and exposures in the risk
                                                                             review the safety of evaluation Itself.
chemical substances and low-priority chem- chemicals in active commerce. While this                          The scope of the statement EPA is re-
ical substances as follows:                     will take many years, the goal of the legisla- quired to prepare under clauses (!}-(iv) is
  "(!) HIGH-PRIORITY SUBSTANCES.-The
                                                tion is to ensure that all chemicals on the bounded in two important respects. First, It
Administrator shall designate as a high-pri- market get such a review. The Initial targets is to be based on information reasonably
ority substance a chemical substance that for numbers of reviews are relatively low, re- available to EPA, and hence does not require
the Administrator concludes, without con- flecting current EPA capacity and resources. new information collection or development.
sideration of costs or other nonrisk factors, These targets represent floors, not ceilings, Second, EPA's consideration of costs and
may present an unreasonable risk of injury and Senate Democratic negotiators expect benefits and cost-effectiveness Is limited to
to health or environment because of a poten- that as EPA begins to collect fees, gets pro- the requirements of the rule itself and the 1
tial hazard and a potential route of exposure cedures established and gains experience, or more "primary" alternatives it consid-
under the conditions of use, including an un- these targets can be exceeded in furtherance ered, not every possible alternative. The role
reasonable risk to a potentially exposed or of the legislation's goals.                                    of the statement required under subpara-
susceptible subpopulation identified as rel-                                                               graph (c)(2)(A) in selecting the restrictions
                                                        8. "MAXIMUM" EXTENT PRACTICABLE
evant by the Administrator.                                                                                to include in its rule is delineated in sub-
   "(ii) LOW-PRIORITY SUBSTANCES.-The             Several      sections  of  the   Frank     R.  Lauten-   paragraph (c)(2)(B). Under this provision,
Administrator shall designate a chemical        berg    Chemical      Safety   for  the    21st Century    EPA must "factor in" the considerations de-
substance as a low-priority substance If the Act include direction to EPA to take certain scribed in the statement "to the extent prac-
Administrator concludes, based on informa-      actions     to  "the  extent   practicable",      In  con- ticable" and "in accordance with subsection
tion sufficient to establish, without consict.- trast to language In S 697 as reported by the (a)." As revised, subsection (a) deletes the
eration of costs or other nonrisk factors,      Senate      that  actions   be  taken     to  "the   max-  paralyzing "least burdensome" requirement
that such substance does not meet the stand- imum extent practicable." During House- in the existing law and instructs that EPA's
ard identified In clause (i) for designating a  Senate     negotiations   on   the  bill,  Senate   nego-  rule must ensure that the chemical sub-
chemical substance a high-priority sub- tiators were Informed that House Legislative stance or mixture "no longer presents'" the
stance."                                        Counsel      believed   the    terms    "extent      prac- unreasonable risk identified in the risk eval-
  The direction to EPA for the designation ticable" and "maximum extent practicable" uation. Thus, it is clear that the consider-
of low-priority substances is of note in that are synonymous, and ultimately Congress ations in the statement required under sub-
it requires such designations to be made only agreed to Include "extent practicable" in the paragraph (c)(2)(A) do not require EPA to
when there is "information sufficient to es- Frank R. Lautenberg Chemical Safety for demonstrate benefits outweigh costs, to de-
tablish" that the standard for designating a the 21st Century Act with the expectation finitively determine or select the least-cost
substance as a high-priority substance is not that no change In meaning from S 697 as re- alternative, or to select an option that is de-
met. Clear authority is provided under sec- ported by the Senate be Inferred from that monstrably cost-effective or is the least bur-
tion 4(a)(2)(B), as created in the Frank R. agreement.                                                     densome adequately protective option. Rath-
Lautenberg Chemical Safety for the 21st              9. COST CONSIDERATIONS IN RULEMAKING                  er, it requires only that EPA take into ac-
Century Act, to enable EPA to obtain the in-      Section 6(c)(2) of TSCA, as amended by the count the specified considerations in decid-
formation needed to prioritize chemicals for Frank R. Lautenberg Chemical Safety for ing among restrictions to impose, which
which information Is initially insufficient. the 21st Century Act lists what Is required in must be sufficient to ensure that the subject
The bill text also goes on to state that If analysis intended to support an EPA rule for chemical substance no longer presents the
"the information available to the Adminis- a chemical substance or mixture:                                unreasonable risk EPA has identified. The
trator at the end of such an extension [for       "(2) REQUIREMENTS FOR RULE.-"(A) Frank R. Lautenberg Chemical Safety for
testing of a chemical substance in order to     STATEMENT            OF  EFFECTS.-In           proposing   the 21st Century Act clearly rejects the regu-
determine Its priority designation] remains and promulgating a rule under subsection (a) latory approach and framework that led to
insufficient to enable the designation of the   with    respect   to a chemical    substance     or  mix-  the failed asbestos ban and phase-out rule of
chemical substance as a low-priority sub- ture, the Administrator shall consider and 1989 in Corrosion Proof Fittings v. EPA 947
stance, the Administrator shall designate publish a statement based on reasonably F.2d 1201 (5th Cir. 1991).
the chemical substance as a high-priority available information with respect to-                               10. "MINIMUM" LABELING REQUIREMENTS
substance."                                       "(i) the effects of the chemical substance
                                                                                                              Section 6(a) of TSCA, as amended by the
  These provisions are intended to ensure or mixture on health and the magnitude of Frank R. Lautenberg Chemical Safety for
that the only chemicals to be designated the exposure of human beings to the chem- the 21st Century Act, ensures that the re-
low-priority are those for which EPA both ical substance or mixture;
has sufficient information and, based on that     "(ii) the effects of the chemical substance quirements EPA can impose to address an
                                                                                                           unreasonable risk to health or the environ-
information, affirmatively concludes that or mixture on the environment and the mag- ment include requiring "clear and adequate
the substance does not warrant a finding nitude of the exposure of the environment to minimum" warnings. The addition of the
that it may present an unreasonable risk.       such substance or mixture;
                                                  "(iii) the benefits of the chemical sub- word "minimum" was intended to avoid the
        6. INDUSTRY REQUESTED CHEMICALS         stance or mixture for various uses; and                    sort of litigation that was undertaken in
   Sec. 6(b)(4)(E) sets the percentage of risk    "(iv) the reasonably ascertainable eco- Wyeth v. Levine, 555 U.S. 555 (2009), when a
evaluations that the Administrator shall nomic consequences of the rule, including plaintiff won a Supreme Court decision after
conduct at industry's request at between 25 consideration of-                                              alleging that the harm she suffered from a




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drug that had been labeled in accordance           substantial discretion to use TSCA nonethe-     slonal intent to ensure that state require-
with FDA requirements had nevertheless             less, and it certainly does not reflect that    ments, including legal causes of action aris-
tieen inadequately labeled under Vermont           TSCA is an authority of last resort in such     ing under statutory or common law, are not
1aw. This ensures that manufacturers or            cases. Importantly, the provision adds a new    preempted or llmlted in any way by EPA ac-
processors of chemical substances and mix-         qualification, not In original TSCA, that the   tion or Inaction on a chemical substance.
tures can always take additional measures,         required considerations are to be "based on            17. STATE-FEDERAL RELATIONSHIP
if in the interest of protecting heal th and the   information reasonably available to the Ad-       Sections 18(a)(l)(B) and 18(b)(l) of TSCA, as
environment, It would be reasonable to do          ministrator" to ensure that such consider-      amended by the Frank R. Lautenberg Chem-
so.                                                ations do not require additional information    ical Safety for the 21st Century Act, refer to
        II. CRITICAL USE EXEMPTIONS                to be collected or developed. Furthermore,      circumstances under which a state may not
    section 6(g) of TSCA, as amended by the        none of these revisions were intended to        establlsh or continue to enforce a "statute,
Frank R. Lautenberg Chemical Safety for            alter the clear intent of Congress, reflected   criminal penalty, or administrative action"
the 21st Century Act, authorizes EPA to ex-        in the original legislative history of TSCA,    on a chemical substance. Section 18(b)(2)
empt specific conditions of use from other-        that these decisions would be completely dis-   states that "this subsection does not restrict
wise applicable section 6(a) rule require-         cretionary with the Administrator and not       the authority of a State or political subdivi-
ments, if EPA makes specified findings. Sec-       subject to judicial review in any manner.       sion of a State to continue to enforce any
tion 6(g)(4) in turn requires EPA to include          14. DISCLOSURE OF CONFIDENTIAL BUSINESS      statute enacted, criminal penalty assessed,
in such an exemption conditions that are                               INFORMATION                 or administrative action taken". In an emall
.. necessary to protect health and the envi-          S. 697 as passed by the Senate included sev- transmitted by Senate Republican nego-
ronment while achieving the purposes of the        eral requirements as amendments to sections tiators at 11:45 AM on May 23, 2016, the Sen-
exemption." It is Congress' intent that the        8 and 14 of existing TSCA that direct EPA to ate requested that House Legislative Counsel
conditions EPA imposes will protect health         "promptly" make confidential business in- delete the word "assessed," but this change
and the environment to the extent feasible,        formation public when It determines that was not made in advance of the 12 PM dead-
recognizing that, by its nature, an exemp-         protections against disclosure of such infor- line to flle the bill text with the House Rules
tion will allow for activities that present        mation should no longer apply. The Frank R. Committee. The Senate's clear intent was
some degree of unreasonable risk.                  Lautenberg Chemical Safety for the 21st not to change or in any way llmlt the mean-
        12. REGULATORY COMPLIANCE                  Century Act instead directs EPA to remove Ing of the phrase "criminal penalty" in sec-
  Several sections of the Frank R. Lauten-         the protections against disclosure when it tion      18(b)(2).
                                                                                                     Section 18(d)(I) of TSCA, as amended by
berg Chemical Safety for the 21st Century          determines that they should no longer apply. the Frank R. Lautenberg Chemical Safety
Act clarify the Congressional intent that          Because EPA informed Senate negotiators for the 21st Century Act, references "risk
compliance with federal EPA standards,             that its practice is to promptly make publlc evaluations"' on chemical substances that
rules or other requirements shall not pre-         information that Is no longer protected may be conducted by states or political sub-
clude liability in circumstances where a rea-      against disclosure, we see no difference or divisions of states with the clear Intent to
sonable manufacturer or processor or dis-          distinction in meaning between the language describe the circumstances In which such ef-
tributor of a chemical substance or mixture        in S. 697 as passed and the Frank R. Lauten- forts would not be preempted by federal ac-
could or should have taken additional meas-        berg Chemical Safety for the 21st Century tion. The term "Risk Evaluation" may not
ures or precautions in the Interest of pro-        Act, and expect EPA to continue Its current be universally utilized in every state or po-
tecting public health and the environment.         practice of affirmatively making public in- lltlcal subdivision of a state, but researching
                                                   formation that is not or no longer protected each analogous term used in each state or
 13. TSCA AS THE PRIMARY STATUTE FOR THE
                                                   from disclosure as expeditiously as possible. political subdivision of a state In order to ex-
      REGULATION OF TOXIC SUBSTANCES                  Subsection 14(d)(9) of TSCA, as amended by plicitly list it was neither realistic nor pos-
  EPA's authorities and duties under section       the Frank R. Lautenberg Chemical Safety sible. The use of this term is not intended to
6 of TSCA have been significantly expanded         for the 21st Century Act, further clarifies the be in any way llmiting.
under the Frank R. Lautenberg Chemical             Congressional intent that any information         Section 18(d)(l)(A)(il) of TSCA, as amended
Safety for the 21st Century Act, now includ-       required pursuant to discovery, subpoena, by the Frank R. Lautenberg Chemical Safety
ing comprehensive deadlines and throughput         court order, or any other judicial process is for the 21st Century Act, fully preserves the
expectations for chemical prioritization, risk     always allowable and discoverable under authority of states or political subdivisions
evaluation, and risk management. The inter-        State and Federal law, and not protected of states to Impose "Information obligation"
agency referral process and the intra-agency       from disclosure.                                requirements on manufacturers or processors
consideration process established under Sec-                     15. CHEMICAL IDENTITY             with respect to chemicals they produce or
tion 9 of existing TSCA must now be re-
garded in a different llght since TSCA can no         Section 14(b)(2) of the bill retains TSCA's use. The provision cites examples of such ob-
longer be construed as a "gap-filler" statu-       provision making clear that information llgatlons: reporting and monitoring or
tory authority of last resort. The changes In      from health and safety studies Is not pro- "other information obligations." These may
section 9 are consistent wl th this recognl tlon   tected from disclosure. It also retains Include, but are not limited to, state require-
and do not conflict with the fundamental ex-       TSCA's two existing exceptions from disclo- ments related to information, such as com-
pectation that, where EPA concludes that a         sure of information from health and safety panies' obligations to disclose use Informa-
chemical presents an unreasonable risk, the        studies: for information where disclosure tion, to provide warnings or to label prod-
Agency should act In a timely manner to en-        would disclose either how a chemical Is man- ucts or chemicals with certain information
sure that the chemical substance no longer         ufactured or processed or the portion a regarding risks and recommended actions to
presents such risk. Thus, once EPA has             chemical comprises in a mixture. A clarifica- reduce exposure or environmental release.
                                                   tion has been added to the provision to note      Section 18(d)(2) of TSCA, as amended by
reached this conclusion, Section 9(a) is not
Intended to supersede or modify the Agen-          expllcltly that the specific identity of a the Frank R. Lautenberg Chemical Safety
cy's obllgatlons under Sections 6(a) or 7 to       chemical ls among the types of Information for the 21st Century Act, specifies that noth-
address risks from activities involving the        that need not be disclosed, when disclosing ing in this section shall modify the preemp-
chemical substance, except as expressly            health and safety information, if doing so tive effect of any prior rule or order by the
                                                                                                   Administrator prior to the effective date, re-
                                                   would also disclose how a chemical is made sponding
identified in a section 9(a) referral for regu-                                                               to concerns that prior EPA action
lation by another agency which EPA believes        or the portion a chemical comprises In a
has sufficient authority to eliminate the risk     mixture. This clarification does not signal on       substances such as polychlorinated
and where the agency acts in a timely and          any Congressional Intent to alter the mean- biphenyls would be potentially immunized
effective manner to do so.                         Ing of the provision, only to clarify Its in- from    liability for injury or harm.
                                                                                                     Section 18(e) of TSCA, as amended by the
  Regarding EPA's consideration of whether         tent.                                           Frank R. Lautenberg Chemical Safety for
to use non-TSCA EPA authorities In order to                       16. "REQUIREMENTS"'              the 21st Century Act, grandfathers existing
address unreasonable chemical risks identi-           Subsection 5(1)(2) of TSCA, as amended by and enacted state laws and regulatory ac-
fied under TSCA, the new section 9(b)(2)           the Frank R. Lautenberg Chemical Safety tions, and requirements imposed now or In
merely consolidates existing language which        for the 21st Century Act clarifies the Con- the future under the authority of state laws
was previously split between section 6(c) and      gressional intent to ensure that state re- that were in effect on August 31, 2003.
section 9(b). It only applies where the Ad-        quirements, including legal causes of action      Section 18(f) of TSCA, as amended by the
ministrator has already determined that a          arising under statutory or common law, are Frank R. Lautenberg Chemical Safety for
risk to health or the environment associated       not preempted or llmlted in any way by EPA the 21st Century Act, provides discretionary
with a chemical substance or mixture could         action or Inaction on a chemical substance. and mandatory waivers which exempt regu-
be ellminated or reduced to a sufficient ex-          Subsection 6(j) of TSCA, as amended by the latory action by states and their political
tent by additional actions taken under other        Frank R. Lautenberg Chemical Safety for subdivisions from any federal preemptive ef-
EPA authorities. It allows the Administrator        the 21st Century Act, clarifies the Congres- fect. In particular, Subsection 18(f)(2)(B)




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specifies that, where requested, EPA shall          fees. This was not the intent and is not con-        potential for exposure to the chemical sub-
grant a waiver from preemption under sub-           sistent with the statutory language. As              stance through the article or category of ar-
section (b) upon the enactment of any stat-         clearly indicated in section 26(b)(l), the           ticles subject to the rule justifies notifica-
ute, or the proposal or completion of a pre-        amended law provides that manufacturers              tion." This language clarifies that potential
liminary administrative action, with the in-        and processors of chemicals subject to risk          exposure is a relevant factor in applying
tent of prohibiting or otherwise restricting a      evaluations be subject to fees, and that fees        SNURs to articles. Exposure is a relevant
chemical substance or mixture, provided             be collected to defray the cost of admin-            factor in identifying other significant new
these actions occur during the 18-month pe-         istering sections 4. 5, and 6, and of collecting,    uses of a chemical substance as well. It is
riod after EPA initiates the prioritization         processing, reviewing and providing access to        not intended to require EPA to conduct an
process and before EPA publishes the scope          and protecting from disclosure information.          exposure assessment or provide evidence
of the risk evaluation for the chemical sub-        Risk evaluations are a central element of            that exposure to the substance through the
stance (which cannot be less than 12 months         section 6. And as demonstrated by section            article or category of articles will in fact
after EPA initiates the prioritization proc-        6(b)(4)(F)(i), the intent of the bill is that the    occur. Rather, since the goal of SNURs is to
ess).                                               EPA-initiated risk evaluations be defrayed           bring to EPA's attention and enable it to
  Section 18(g) of TSCA, as amended by the          at the 25% level (subject to the $25,000,000         evaluate uses of chemicals that could
Frank R. Lautenberg Chemical Safety for             cap), in contrast to the industry-initiated          present unreasonable risks, a reasonable ex-
the 21st Century Act, specifies that no pre-        evaluations, which are funded at the 50% or          pectation of possible exposure based on the
emption of any common law or statutory              100% level. The final citation in section            nature of the substance or the potential uses
causes of action for civil relief or criminal       26(b)(4)(B)(i) should be read as section             of the article or category of articles will be
conduct shall occur, and that nothing in this       6(b)(4)(C)(ii), as it is in section 6(b)(4)(F)(i),   sufficient to "warrant notification." EPA
Act shall be interpreted as dispositive or          not to section 6(b) generally.                       has successfully used the SNUR authority in
otherwise limiting any civil action or other                   19. SCIENTIFIC STANDARDS
                                                                                                         the existing law to provide for scrutiny of
claim for relief. This section also clarifies                                                            imported articles (many of which are widely
the Congressional intent to ensure that state         The term "weight of evidence" refers to a          used consumer products) that contain unsafe
requirements, including legal causes of ac-         systematic review method that uses a pre-es-         chemicals that have been restricted or dis-
tion arising under statutory or common law,         tablished protocol to comprehensively, ob-           continued in the U.S. and it's critical that
are not preempted or limited in any way by          jectively, transparently, and consistently,          SNURs continue to perform this important
EPA action or inaction on a chemical sub-           identify and evaluate each stream of evi-            public health function under the amended
stance. This section further clarifies Con-         dence, including strengths, limitations, and         law.
gress' intent that no express, implied, or ac-      relevance of each study and to integrate evi-                  22. COMPLIANCE DEADLINES
tual conflict exists between any federal regu-      dence as necessary and appropriate based
                                                    upon strengths, limitations, and relevance.            The amended law expands on existing sec-
latory action and any state, federal, or mari-        This requirement is not intended to pre-           tion 6(d) by providing that rules under sec-
time tort action, responding to the perceived                                                            tion 6 must include "mandatory compliance
conflict contemplated in Geier v. American          vent the Agency from considering academic
                                                    studies, or any other category of study. We          dates." These dates can vary somewhat with
Honda Motor Co., 529 U.S. 861 (2000) and its                                                             the type of restriction being imposed but, in
progeny.                                            expect that when EPA makes a weight of the
                                                    evidence decision it will fully describe Its         general, call for compliance deadlines that
                    18. FEES                        use and methods.                                     "shall be as soon as practicable, but not
  Fees under section 26(b), as amended by                                                                later than 5 years after the promulgation of
                                                             20. PARTIAL RISK EVALUATIONS                the rule." While EPA could in unusual cir-
the Frank R. Lautenberg Chemical Safety
for the 21st Century Act, are authorized to be        Section 26(1)(4) of TSCA, as amended by            cumstances delay compliance for as long as
collected so that 25% of EPA's overall costs        the Frank R. Lautenberg Chemical Safety              five years, this should be the exception and
to carry out section 4, 5, and 6, and to col-       for the 21st Century Act, states                     not the norm. To realize the risk reduction
lect, process, review, provide access to and          "(4) CHEMICAL SUBSTANCES WITH                      benefits of the rule, it is expected that com-
protect from disclosure information, are de-        COMPLETED RISK ASSESSMENTS.-With                     pliance deadlines will be as soon as prac-
frayed, subject to a $25,000,000 cap (that itself   respect to a chemical substance listed in the        ticable after the rule's effective date as di-
can be adjusted for inflation or if it no           2014 update to the TSCA Work Plan for                rected in new paragraph 6(d)(l).
longer provides 25% of EPA's costs listed           Chemical Assessments for which the Admin-                Senator Barbara Boxer, Ranking Mem-
above). While the collection of fees is tied to     istrator has published a completed risk as-                ber, Environment and Public Works
the submission of particular information            sessment prior to the date of enactment of                 Committee.
under sections 4 and 5 or the manufacturing         the Frank R. Lautenberg Chemical Safety                  Senator Edward J. Markey, Ranking
or processing of a particular chemical sub-         for the 21st Century Act, the Administrator                Member, Subcommittee on Superfund,
stance undergoing a risk evaluation under           may publish proposed and final rules under                 Waste Management and Regulatory
section 6, in general the use of these fees is      section 6(a) that are consistent with the                  Oversight, Environment and Public
not limited to defraying the cost of the ac-        scope of the completed risk assessment for                 Works Committee, and cosponsor,
tion that was the basis for payment of the          the chemical substance and consistent with                 Frank R. Lautenberg Chemical Safety
fee. The exception to this general principle is     other applicable requirements of section 6."               for the 21st Century Act.
for fees to defray the cost of conducting             EPA has completed risk assessments on                  Senator Tom Udall, lead Democratic au-
                                                    TCE, NMP, and MC, but has not yet proposed                 thor and sponsor, Frank R. Lautenberg
manufacturer requested risk evaluations.            or finalized section 6(a) rules to address the
which are independent of the $25 million cap                                                                   Chemical Safety for the 21st Century
                                                    risks that were identified. The risk assess-               Act.
or 25% limit. These must be spent on the par-       ments for these chemicals were not con-
ticular risk evaluation that was the basis for                                                               Senator Jeffrey A. Merkley, cosponsor,
                                                    ducted across all conditions of use. During                Frank R. Lautenberg Chemical Safety
payment of the fee. This limitation applies         the bi-cameral negotiations, EPA expressed
only to the fee collected for the purpose of                                                                   for the 21st Century Act.
conducting the risk evaluation and does not         the view that, rather than reexamine and               Mr. MERKLEY. I yield the floor.
prevent EPA from collecting further fees            perhaps broaden the scope of these assess-             Mrs. GILLIBRAND. Mr. President, I
                                                    ments, it is better to proceed with proposed
from such persons for other purposes for            and final rules on the covered chemicals to          know that everyone here shares a de-
which payment of fees are authorized under          avoid any delay in the imposition of impor-          sire to fix our chemical safety law, the
the section. For example, if a manufacturer-        tant public health protections that are              Toxic Substances Control Act, and I
requested risk evaluation later leads to risk       known to be needed. Congress shared these            appreciate the years of hard work that
management action, EPA may assign further           concerns. The language House-Senate nego-
fees to manufacturers and processors of that                                                             my colleagues, starting with the late
substance, subject to the $25,000,000 cap and       tiators included above is intended to allow          Senator from New Jersey, Frank Lau-
the requirement to not exceed 25% of overall        EPA to proceed with the regulation of these          tenberg, put in to try to make this bill
program costs for carrying out sections 4, 5,       substances if the scope of the proposed and          the best bipartisan compromise it
and 6, and to collect, process, review, provide     final rules is consistent with the scope of the
                                                    risk assessments conducted on these sub-             could be.
access to and protect from disclosure infor-        stances.                                               So many parts of this bill strengthen
mation.                                                                                                  the standards and review process for
  We also note that some have raised the                        21. SNURS FOR ARTICLES
possibility that section 26(b)(4)(B)(l)(I), as        Section 5(a)(5) addresses the application of
                                                                                                         chemicals, and I am pleased that we
amended by the Frank R. Lautenberg Chem-            significant new use rules (SNURs) to articles        will finally be able to effectively regu-
ical Safety for the 21st Century Act, could be      or categories of articles containing sub-            late chemicals on a Federal level.
read to exclude the cost of risk evaluations,       stances of concern. It provides that in pro-           However, there is one part of the bill
other than industry-requested risk evalua-          mulgating such SNURs, EPA must make "an              that still concerns me: the preemption
tions, from the costs that can be covered by        affirmative finding .... that the reasonable         of State laws.




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                                                    U.S. GOVERNMENT
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                                                                                      114TH CONGRESS                                                                                              REPORT
                                                                                                     " HOUSE OF REPRESENTATIVES                                                           !
                                                                                         1st Session                                                                                              114–176




                                                                                                               TSCA MODERNIZATION ACT OF 2015



                                                                                           JUNE 23, 2015.—Committed to the Committee of the Whole House on the State of
                                                                                                              the Union and ordered to be printed




                                                                                              Mr. UPTON, from the Committee on Energy and Commerce,
                                                                                                              submitted the following


                                                                                                                                       R E P O R T
                                                                                                                                    [To accompany H.R. 2576]

                                                                                                         [Including cost estimate of the Congressional Budget Office]

                                                                                        The Committee on Energy and Commerce, to whom was referred
                                                                                      the bill (H.R. 2576) to modernize the Toxic Substances Control Act,
                                                                                      and for other purposes, having considered the same, report favor-
                                                                                      ably thereon with an amendment and recommend that the bill as
                                                                                      amended do pass.
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                                                                                            The amendment is as follows:
                                                                                            Strike all after the enacting clause and insert the following:
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                                                                                             49–006




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                                                                                    Second, this section allows EPA to require testing of a chemical
                                                                                  substance when necessary to complete a risk evaluation of that
                                                                                  chemical under section 6(b). The Committee intends ‘‘necessary’’ to
                                                                                  mean that this grant of authority only be employed to fill a gap in
                                                                                  the Agency’s existing data on the chemical substance that other-
                                                                                  wise precludes a determination on a chemical substance.
                                                                                    The increased testing authority in H.R. 2576 reflects the Com-
                                                                                  mittee consensus that EPA should have the information necessary
                                                                                  to fill knowledge gaps before making regulatory decisions. Curiosity
                                                                                  alone is insufficient to compel new testing. The Committee believes
                                                                                  that the broader and simpler manner of requiring new test infor-
                                                                                  mation by order or consent agreement, the new authority given to
                                                                                  EPA to compel the creation of new data under section 4(a)(1)(C),
                                                                                  and the Agency’s existing authority under section 8 will enable
                                                                                  EPA to close knowledge gaps.
                                                                                  Section 4. Regulation of hazardous chemical substances and mix-
                                                                                       tures
                                                                                     To help the Agency function more effectively in dealing with ex-
                                                                                  isting chemicals, the Committee reorganized TSCA section 6 to
                                                                                  specify what is expected of the Administrator in making discrete
                                                                                  decisions.
                                                                                     Section 4 makes substantive, clarifying, and structural changes
                                                                                  to TSCA section 6. For example, where existing TSCA section 6(a)
                                                                                  combines three undertakings—the finding of unreasonable risk, the
                                                                                  standard for regulation, and the control measures available under
                                                                                  any regulation, H.R. 2576 splits these actions into two separate
                                                                                  subsections with distinct functions: section 6(a) establishes the
                                                                                  standard for issuing regulations and the universe of available con-
                                                                                  trol measures for existing chemical substances and mixtures, and
                                                                                  section 6(b) establishes a separate risk evaluation process for deter-
                                                                                  mining whether a chemical substance presents or will present an
                                                                                  unreasonable risk of injury. If the Administrator makes such a de-
                                                                                  termination, then a regulation to address that risk is warranted
                                                                                  under section 6(a), and the Administrator must proceed to section
                                                                                  6(a) rulemaking.
                                                                                     Section 4(a) repeals the requirements in TSCA section 6(a) that
                                                                                  a rule restricting a chemical substance or mixture apply the least
                                                                                  burdensome requirements, be predicated upon the Administrator
                                                                                  finding a ‘‘reasonable basis to conclude’’ an unreasonable risk is
                                                                                  present or will be present, and ‘‘protect adequately’’ against the un-
                                                                                  reasonable risk. Instead, section 6(a) obliges the Administrator to
                                                                                  apply requirements on a chemical substance or mixture to the ex-
                                                                                  tent necessary so that the chemical substance or mixture no longer
                                                                                  presents or will present an unreasonable risk, including an identi-
                                                                                  fied unreasonable risk, to a potentially exposed subpopulation.
                                                                                     The restrictions that the Administrator is authorized to impose
                                                                                  are not changed by the TSCA Modernization Act. Because a chem-
                                                                                  ical substance’s intended conditions of use are important in defin-
                                                                                  ing the risk it presents, the Committee expects that the Adminis-
                                                                                  trator, in applying any requirements, will address identified cir-
                                                                                  cumstances of manufacturing, processing, distribution in commerce,
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                                                                                  use, or disposal of a chemical substance or mixture that presents
                                                                                  or will present an unreasonable risk of injury to health or the envi-
                                                                                  ronment that require control.




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                                                                                  publish a statement about the impacts of the chemical substance
                                                                                  or mixture are largely retained in new section 6(c)(1)(A), with the
                                                                                  consideration of substitutes moved to section 6(c)(1)(C) and the re-
                                                                                  quirements for addressing chemical risks under other statutes ad-
                                                                                  ministered by the Agency now in section 9(b). Under new TSCA
                                                                                  subsection (c)(1)(B), the Administrator must impose requirements
                                                                                  under the rule that, consistent with information published under
                                                                                  subparagraph (A), are cost-effective, unless the Administrator de-
                                                                                  termines that additional or different requirements described in
                                                                                  subsection (a) are necessary to protect against the identified risk.
                                                                                     The Committee chose this process to ensure that the universe of
                                                                                  data from which the Administrator would be making a cost-effec-
                                                                                  tiveness decision would be limited to only that information pro-
                                                                                  vided and considered as part of the rulemaking record. The Com-
                                                                                  mittee does not expect EPA to analyze the cost-effectiveness of an
                                                                                  open-ended group of possible requirements, but to focus on those
                                                                                  that meet the subsection (a) purpose of controlling an unreasonable
                                                                                  risk of injury. The Administrator need not test each control meas-
                                                                                  ure in a rulemaking for its cost-effectiveness. While the Commit-
                                                                                  tee’s preference is that selected requirements be cost-effective, if no
                                                                                  restriction is available that the Administrator determines cost-ef-
                                                                                  fective in managing the risk, the identified unreasonable risk must
                                                                                  still be addressed.
                                                                                     New subsection (c)(1)(C) requires the Administrator, in deciding
                                                                                  whether to prohibit or substantially restrict a specific use of a
                                                                                  chemical substance or mixture and in setting an appropriate tran-
                                                                                  sition period for such action, to determine whether a technically
                                                                                  and economically feasible alternative to a chemical that benefits
                                                                                  health or the environment, compared to the use proposed to be pro-
                                                                                  hibited or restricted, will be reasonably available as a substitute
                                                                                  when the proposed prohibition or restriction takes effect.
                                                                                     New subsection (c)(1)(D) exempts replacement parts if they are
                                                                                  designed prior to publication of the section 6(a) risk management
                                                                                  rule in the Federal Register, unless the Administrator finds that
                                                                                  they contribute significantly to the identified risk, including identi-
                                                                                  fied risks to identified potentially exposed subpopulations. Sub-
                                                                                  section (c)(1)(E) instructs the Administrator, when applying prohi-
                                                                                  bitions or other restrictions to address an unreasonable risk of in-
                                                                                  jury, to apply such prohibitions or restrictions to an article, on the
                                                                                  basis of a chemical substance or mixture contained in that article,
                                                                                  only to the extent necessary to protect against the unreasonable
                                                                                  risk of injury from that article.
                                                                                     Section 4(c) repeals the requirement for informal hearings, in-
                                                                                  cluding cross examination of witnesses, found in TSCA section
                                                                                  6(c)(3) and repeals the availability of compensation of attorney’s
                                                                                  fees, expert witness fees, and other costs of participating in a pro-
                                                                                  ceeding for the promulgation of a subsection (a) rule found in TSCA
                                                                                  paragraph 6(c)(4).
                                                                                     Further, Section 4(d) adds a requirement at the end of section
                                                                                  6(d)(2)(B) providing for a reasonable transition period for any rule
                                                                                  promulgated under section 6(a).
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                                                                                     Section 4(e) of the TSCA Modernization Act adds three new sub-
                                                                                  sections to the end of TSCA section 6 to address three distinct
                                                                                  areas.




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                                                                                  designating a chemical substance a PBT chemical of concern, must
                                                                                  promulgate a rule under section 6(a), and in keeping with the rest
                                                                                  of the factors in sections 6 and 9, to reduce, to the extent prac-
                                                                                  ticable, likely exposure to that PBT chemical.
                                                                                     These reforms to section 6 are intended to permit the Agency to
                                                                                  identify unreasonable risks and address them effectively. To many
                                                                                  members of the Committee, an important measure of TSCA reform
                                                                                  proposals has been whether the proposal would enable EPA to take
                                                                                  broader regulatory action to protect against unreasonable risks
                                                                                  from asbestos. The Committee expects this legislation to enable
                                                                                  that regulatory action.
                                                                                     Finally, while the phrase ‘‘unreasonable risk of injury’’ is not
                                                                                  amended, it must be read in the context of the changes to section
                                                                                  6, including the functions and purposes delineated in subsections
                                                                                  (a), (b), and (c).
                                                                                  Section 5. Relationship to other Federal laws
                                                                                     H.R. 2576 reinforces TSCA’s original purpose of filling gaps in
                                                                                  Federal law that otherwise did not protect against the unreason-
                                                                                  able risks presented by chemicals. The Joint Explanatory State-
                                                                                  ment of the Committee of Conference for the legislation, which is
                                                                                  now Title I of TSCA, clearly states that ‘‘[t]he conferees have
                                                                                  drawn from both the Senate bill and the House amendment to as-
                                                                                  sure that overlapping or duplicative regulation is avoided’’ and:
                                                                                           If the Administrator determines that a risk to health or
                                                                                        the environment associated with a substance or mixture
                                                                                        could be eliminated or reduced to a sufficient extent by ac-
                                                                                        tions taken under authorities contained in other Federal
                                                                                        laws, then the Administrator shall use such other authori-
                                                                                        ties, unless the Administrator determines . . . it is in the
                                                                                        public interest to use this Act.
                                                                                     This section adds a new paragraph to TSCA section 9(b) to help
                                                                                  the Administrator decide whether using TSCA Title I or another
                                                                                  Federal authority provided to the Administrator is ‘‘in the public
                                                                                  interest.’’ Specifically, the new paragraph requires the Adminis-
                                                                                  trator to consider the relevant aspects of the risks posed by the
                                                                                  chemical substance and compare the estimated costs of actions
                                                                                  taken under Title I of TSCA or another Federal law with the rel-
                                                                                  ative efficiencies of protecting against the risk presented through
                                                                                  actions taken under such laws. This new paragraph reflects lan-
                                                                                  guage in section 6 current law that is removed by section 4 of the
                                                                                  bill.
                                                                                     The Committee believes the added language will help to focus
                                                                                  the Administrator’s exercise of discretion regarding which statute
                                                                                  to apply and to encourage decisions that avoid confusion, complica-
                                                                                  tion, and duplication. For example, if the Administrator determines
                                                                                  that a risk to health or the environment associated with disposal
                                                                                  of a chemical substance could be eliminated or reduced to a suffi-
                                                                                  cient extent under the Solid Waste Disposal Act, the Administrator
                                                                                  should use those authorities to protect against the risk. Likewise,
                                                                                  while section 5 makes no amendment to TSCA section 9(a), the
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                                                                                  Committee believes that the Administrator should respect the ex-
                                                                                  perience of, and defer to other agencies that have relevant respon-
                                                                                  sibility such as the Department of Labor in cases involving occupa-




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                                                    Calendar No. 668
   94TH CONGRESS }
    2d Session                     SENATE                    { No. 94-698
                                                                  REPORT




          TOXIC SUBSTANCES CONTROL .ACT




                               REPORT
                                    OF THE

         SEN.ATE COMMITTEE ON COMMERCE
                                      ON


                                   s. 3149
                                together with
                         ADDITIONAL VIEWS
       TO REGULATE COMMERCE AND PROTECT HUMAN HEALTH
       AND THE ENVIRONMENT BY REQUIRING TESTING AND
       NECESSARY USE RESTRICTIONS ON CERTAIN CHEMICAL
             SUBSTANCES, AND FOR OTHER PURPOSES




                     MARCH 16, 1976.-0rdered to be printed




                       U.S. GOVERNMENT PRINTING OFFICE
     57-010                   WASHINGTON : 1976




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                                              Calendar No. 668
  94TH CONGRESS
    fdSession
                    }           SENATE
                                                     {            REPORT
                                                              No. 94-698




              TOXIC SUBSTANCES CONTROL ACT


                   MARCH 16, 1976.-0rdered to be printed




          Mr. J\1:AGNusox, from the Committee on Commerce,
                         submitted the following

                              REPORT
                              together with
                         ADDITIONAL VIE"VVS
                           [To accompany S. 3149]

    The Committee on Commerce having considered the bill (S. 3149)
  to regulate commerce and protect human health and the environment
  by requiring testing and necessary use restrictions on certain chemi-
  cal substances, and :for other purposes, reports favorably thereon and
  recommends that the bill do pass.                     •
                    PURPOSE AND BRIEF DESCRIPTION

    The purpose o:f S. 3149 is to prevent unreasonable risks o:f injury
  to health or the environment associated with the manufacture, process-
  ing, distribution in commerce, use, or disposal o:f chemical substances.
  The 'bill is designed to fill a number o:f regulatory gaps which cur-
  rently exist. They are :
                          1. PREMARKET REVIEW

    1Vhile certain environmental health statutes may be used to protect
  hea.lth and the environment from chemical substances, only pesticides,
  drugs, and fopd additives undergo premarket scrutiny prior to first
  manuf_acture. (I'he Clean Air Act ( 77 Stat. 392), t~e Federa,l 1¥ater
  Pollution Control Act (66 Stat. 755), the Occupational Safety and
  Health Act ( 84 Stat. 1590), and the Consumer Product Safety Act
  (86 Stat. 1207), do not provide for this type of premarket scrutiny.
                  2. DIRECT REGULATION OF CHEMICALS-

    While air and water laws authorize limitations on discharges and
  emissions, the Occupational Safety and Health Act authorizes the
  establishment of ambient air standards :for the workplace, and the
  Consumer Product Safety Act authorizes standards with respect to
                                    (1)




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          consumer products, there are no existing statutes which authorize the
         •direct control of industrial chemicals themselves for their health or
          environmental effect (except section 211 of the Clean Air Act, which
          authorize:; the regulation of fuel additives).
            ,vhile these other authorities will in many cases be sufficient to
          adequately protect health and the em·irnnment, the alternative of
          preventing or regulating the use of the chemical in the first instance
          may be a far more effective way of dealing with the hazards. If
          expensive sewage treatment facilities can be avoided, for example,
          through removing dangerous materials from household and indus-
          trial wastes, the authority to do so ought to be provided.
                          3. CONSIDERATION OF ALL THE RISKS

            W11ile individual agencies may be authorized to reg-ulate occu-
          pational, environmental, or direct consumer hazards with respect to
          a chemical substance, there is no agency which has tho authority to
          Jook comprehensively at the hazards associated with the chemical.
          Existing authoz·ity n.llo,vs the agencies to only look at the hazards
          within their jurisdiction in isolation from other hazards associated
          with the same chemical. The bill wo11lcl grant the EnYironmrntal.Pro-
          tection Agency the authority to look at the hazards in total.
                              4. COLLECTION OF TEST DATA

            The committee bill also provides a mechanism whereby information
          with respect to health and environmental effects can be collected from
          manufacturers and processors of chemical substances. ,vhile other
          statutes provide regulatory authority, they do not place the. responsi-
          bility for gathering information in support of the regu]atory program
          squarely with persons who r.re responsible for the manufacture or
          processing of the chemical substance or mixtures.
             Specificallv, the bill provides:
                  (1) That manufacturers of new chemical wbsta.nces give notifi-
               cation to EPA 90 days in advance of first manufacture and that
               test data accompanv that notification if required by EPA. The
               provision is not applicable to research chemicals unless EPA
               specifir.ally includes any such chemical.
                  (2) That the EPA Administrator require manufacturers to test
               or have tested those chemical substances which he determines
               may present an unreasonable risk of injury to health or the
               environment or those for which significant. human or environ-
               mental exposure takes place or will take place. The provision is
               applicable both to new and existing chemical substances.
                  (3) Manufacturers and .processors of chemical substances are
               required to maintain certain records and reports to better enable
               the Administrator to determine if u:nreasmrnble risks exist. Im-
               portantly, manufacturers must maintain with the Administrator
               lists of health and safety studies conducted, whether or not they
                have been conducted as a result of this legislation. The Adminis-
                trator is authorized to require the submission of any study on
                the list.




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         ( 4) Citizens are authorized to bring suits to enjom certain
      violations and to require the Administrator of EPA to perform
      his mandatory duties. A citizens' petition provision is also pro-
      vided whereby citizens may receive judicial review of petitions
      to EPA which were denied or not acted upon.
                            DACI'i:GROUXD AXD      X1mns
     The last century has witnessed the ever-accelerating growth of the
  chemical industry. Sales now exceed $100 billion a year. This industry
  has developed a vast new arra.y of chemicals. In fact, it is estimated
  that there are presently 2 million recognized chemical compounds
  in existence with nearly 250,000 new compounds produced each year.
  ,Yhile most of these compounds will never be commercialized, the
  Environmental Protection Agency estimates that approximately 1,000
  new chemicals each year will find their way into the marketplace and
  subsequently into the environment through use or disposal.
     As the industry has grown, we have become literally surrounded
  by a man-made chemical environment. ,,re utilize chemicals in a ma-
  jority of our daily activities. We continually wear, wash with, inhale,
  and ingest a multitude of chemical substances. Many of these chem-
  icals are essential to protect, prolong, and enhance our Ii ves. Y ct, too
  frequently, we have discovered that certain of these chemicals present
   lethal health and environmental dangers.
     In Hl71, the Council on Environmental Quality in a report, entitled
  "Toxic Substances" concluded that regulatory mechanisms to control
  toxic chemicals were "inadequate." This report was the impetus for
  the original Toxic Substances Control Act legislation.
     After 15 days of hearings and extensive analysis over the last 5
  years, the Toxic Substances Control Act has evolved into a compre-
  hensive measure to protect the public and the environment from ex-
  posure to hazardous chemic:ils. The legislation would assure that chem-
  icals receive careful premarket scrutiny before they are manufactured
  or distributed to the public. This provision would end the present
  situation where chemicals can be marketed without notification of anv
   governmental body and without any requirement that they be tested
  for safety. Thus, this provision would no longer allow the public or the
  environment to be used as a testing ground for the safety of these
   products.
      In a recent speech supporting toxic substances control legislation,
   Russell E. Train, the .Arlministrator of the Environmental Protec-
   tion Agency, pointed out that-
    Most Americam; llad no idea, until relatively recently, that they were living
  so dangerously. They had no idea that when they went to work in the morning,
  or when they ate lheir breakfast-that when they did the things they had to do
  to enrn a living and keep themselves alive and well-that when they did things
  as ordinary, as ~nnocent and as essential to life as eat, drink, breathe or touch,
  they could. in fact, be laying their lives on the line. They had no idea that. with-
  out their knowledge or consent. they were oftl'n engaging in a grim game of
  chemical roulette whose result they would not know until many years later.
    Dr. Tmin's view is a reflection of the fact, that in the last few years
  the list of comnrnnly utilized and widely dispersed chemicals that




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        have been found to be potentially significant health and environmental
        dangers has been ~onstantly growing. A partial list includes:
           (1) Kepone, which has been implicated in causing brain damao-e       0
        and other nervous system disorders:
           (2) vinyl chloride, arsenic, and asbestos, all found to be potentially
        extremely potent cancer-causing agents in man;
           ( 3) mercury, lead, and other heavy metals; •
           ( 4) PCB's which ham been found to cause liver cancer in rats and
        to have contaminated numerous fish stocks throughout the United
        States; and
           ( 5) fluorocarbons, propellants in aerosols and coolants in refrio-era-
        tors and. air-conditioners, suspected of depleting the Earth's ~zone
        layer which protects humans from excessive ultraviolet radiation that
        can cause skin cancer.
           Furthermore, the interaction of chemical substances in some cases.
        ma~es these dangers m~ltirlicati_ve rather than additive. Dr. Irving
        Sehkoff, of the Mount Sma1 Medical School, for example, pointed out
        that asbestos workers who are nonsmokers do not have an appreciably
        higher lung cancer rate than the population at large. However, Dr.
        Selikoff noted that if an asbestos worker smokes, his chances of getting
        lung cancer are eight times greater than the average cigarette smoker
        and are 92 times greater than an individual who is neither an asbestos
        worker or a smoker. Thus, the risks appear to be multiplied by these
        interactions.
           Russell Peterson; Chairman of the Council on Environmental Qual-
        ity, after analyzing these chemical dangers concluded at last year's
        hearings, "Toxic substances legislation is probably the most impor-
        tant environmental legislation now before the Congress." Many doctors
        and scientists concur with Dr. Peterson noting that controlling toxic
        chemicals in the environment is one of the crucial health requirements
        facing this Nation. Dr. David Rall, Director of the National Institute
        of Environmental Health Sciences of the National Institutes of Health,
        has stated, for example:
          Recent experience with vinyl chloride, bischloromethyl ether, methylbutyl
        ketone, and sulphuric acid mist indicate that these compounds are not theoretical
        threats, but known causes of illness and death. Many of these compounds are
        toxic to man in relatively low concentrations. 'Man is assaulted by these com-
        pounds alone and in combination from multiple sources. This problem constitu.tes
        p'ossibly the major health hazard of this decade. ( Italics added.)
           Cancer, which was projected to kill as many Americans in 1975 as
        all the battle deaths in Vietnam, Korea,, and the Second World War
        combined, appears particularly susceptible to a preventive approach
        through control of toxic substances in the environment. The National
        Cancer Institute, for example, estimates that 60 to 90 percent o:f the
        cancers occurring in this country are a result o:f environmental con-
        taminants. Furthermore, the National Cancer Institute has plotted
        the incidence of cancer around the industrial centers of the United
        States. Almost without exception the industrial centers, where indus-
        trial chemicals are obviously found in largest concentrations, had the.
        hio-hest incidence of cancer. Thus. the Toxic Substances Control Act,
        which provides authority for increased testing o~ chemicals for _their
        cancer-causing effects, can serve as an ea;rly wa~nmg system _to signal
        potential dangers before products are widely dispersed and irretr1ev-
        able societal danger has been unleashed.




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     Toxic chem.icals have also been implicated in causing birth defects
   and genetic damage. The National Foundation-March of Dimes re-
   cently wrote to Senator Magnuson in support of toxic .substances
   legislation stating:
    . l\fore than·200,000 infants are born with physical or mental damage each year,
   a staggering 7 percent of all birth!! • • • A total of 15 million Americans have
   birth defects serious enough to drastically affect their daily lives • • • It is
   with alarm that our attention is drawn to some aspects of modern technology
   which work counter-productive to our aims. Each year billions ,of pounds of chem-
   icals which are virtually untested and unregulated 'are produced in industrial
   processes and used in commercial products. Experience with vinylchloride has
   shown it to be a highly toxic substance which experimentally can cause cancer
   and birth defects; ,but this experience came only with its burden of proof 011
   the public. We look now to preventative testing of toxic substances in industrial
   production prior to manufacture or distribution as one critical means to reduce
   exogenous causes of birth defects.
       In order to. protect against these dangers, the proposed Toxic Sub-
    stances Control Act would close a number of major regulatory gaps,
    for while certain statutes, including the Clean Air Act, the ,Federal
    vVater Pollution Control Act, the Occupational Safety and Health
    Act, and the Consumer Product Safety Act, may be used to protect
    health and the environment from chemical substances, none of these
    statutes provide the means for discovering adverse effects on health and
    environment before manufacture of new chemical substances. Under
    these other statutes, the Government regulator's only response to
    chemical dangers is to impose restrictions after manufacture begins.
       The most effective and efficient time to prevent unreasonable risks
    to public health or the environment is prior to first manufacture. It is
     at this point that the costs of regulation in terms of human suffering,
     jobs lost, wasted capital expenditures, and other costs are lowest. Fre-
    quently, it is far mor!3 painful to take regulatory action after •all of
    these costs have been incurred. For example, the hazards associated with
    vinyl chloride have made headlines in recent months. Vinyl chloride
    has been implicated as causing liver cancer in industria1 workers; At the
    same time the country has grown extremely reliant on the plastics
     which are produced from the chemical. In fact, 1 percent of our gross
    national product is associated with the vinyl chloride industry. Obvi-
    ously, it is far more difficult rto take regulatory action against this
  . chemical now, than it would have been had the dangers been known
    earlier when alternatives could have been developed and polyvinyl
    chloride plastics not become such an intrinsic part of our way of life
    in this country.
       The proposed Toxic Substances Control Act also provides a far more
    effective mechanism to protect against dangerous chemical materials
    contained in consumer and industrial products. While air and water
    pollution laws authorize limitations on discharges and emission and
    the Occupational Safety- and Health Act authorizes workplace ambient
    standards, there are no statutes ( except the fuel additives provisions of
    the Clean Air Act) which authorize the direct control of such chem-
    icals for their health or environmental effects.     •
       The regulation of the discharge of excessive levels of mereury into
    the environment is an example of the need for such controls. Recently,
    there has •been growing concern about mercury pollution due to indus-
    trial discharges. Yet, testimony has indicated that an even greater
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         threat of pollution may be posed by the presence of mercury in such
         consumer products as paint, home thennometcrs, sponges, and a variety
         of other products. Indnstrial pollution often ean be pinpointed and cor-
         rective action rapidly taken; however, it is nearly impossible to prevent
         an individual householder from disposing of products containing toxic
         substances either clown the drain or out with the f!arba.ge. While many
         dangerous materials can be removed from municipal sewage, many
         others cannot, therefore, it seems far more prudent to provide authority
         to limit the amounts of dangerous materials in coneumer products than
         to allow them to escape into a municipal sewage plant or to vainly ask
        the householder not to dispose of them. A prime purpose of the pro-
        posed Toxic Substances Control Act is to provide authority for such
        regulatory controls.
           Another important provision would provide regulators timely access
        to information regardin,!! health and safety studies concerning chem-
        icals covered by the Act. The importance of this provision was demon-
        strated in hearings of the Subcommittee on the Environment of the
        Senate Commerce Committee, where witnesses made. detailed allega-
        tions that certain groups within the chemical industry had knowledge
        of the cancer-causing potential of vinyl chloride well in advance of
        the time that this information was released to the Government or the
        public. Similar charges were made that data was suppressed which
        suggested that industrial workers exposed to the chemical BCME
        were experiencing unusually hi_gh lung cancer rates. This legislation
        will provide the authority for EPA to gather this kin.d of information
        with respect·to existing studies as well as studies which may be begun
        in the future.
            The time has nassecl ,Yhere human health and the environment is
         protected only after serious injury has occurred. As Russell Train has
         stated:
           It is time we !'tarted pnttin,:: chemkals to thr tf'~t. not people. It is time we
        g"ave tlle people of this country some reason to believe that every time tlwy take
        a breath or eat or drink or touch, they are not takin~ their life into their hand;,.
        The Committee bill, which contains provisions to regulate chemical
        hazards, wi]l help provide this needed assurance.


                            l. TESTIKG OF CHEJ\HCAL SCBSTANCES

           Thero are hvo multi-pa.rt bases under which the Administrator
        mnst require that testing ht> conducted on a clwmical snhstanre or
        mixture. First. if tlw manufacturer. processing. distribution in com-
        mer<'e, USP.. or disnosal (a) mrry present, an nnrensonahle risk. (b) there
        are insuffi<'ient data or experience upon which to judge the effects
        upon hen 1th and the environment, and ( c) testing is necessary to
        develop clatn. tlie Administrator must, reonire testing.
           Second, if the Administrator finds that the chemical substance
        or mixture may present significant human or environmental exposure
        because it is or will be nrodnrrd in suh:;tantial quantities or for other
        rt>asons. and that tlw substance or mixture maY perhaps present an ad-
        wrse effect on health and the requirements o·f (b) and -( r.) above are




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 met, the Administrator must require testing. The finding with respect
 to an· adverse effect is to be presumed if the Administrator has no
 reliable data or experience available to him.                      .      .
     In addition, the Administrator must consider the reasonably -ascer-
 tainable costs and other burdens associated with conducting tests in
 light of the possible risks of injury to health or the environment.
 These findings are to be published in the Federal Register.
     An eight member Federal advisory committee is established to de-
 velop a priority list of chemicals which it recommends to the Admin-
 istrator for testing. The members of the committee are made up of
 Federal officials who either have regulatory responsibility in the area
  of chemical substances or have expertise with respect to testing needs.
     "Within 12 months after the elate of inclusion of a chemical substance
  or mixture on the priority list, the Administrator is required to either
  (a) initiate a rulemaking proceeding to require testing or (b) pub-
  lish in the Fecle,ral Register his reasons for not initiating such a
  proceeding.
                       • 2. PHEl\L\RKET NOTIFICATION

    At least 90 clays prior to the first manufacture (for commercial
 purpose). of a new chemical substance, manufacturers are to give
 notice to the Administrator. The notice is to contain information with
 respect to the identity of the substance, uses, estimates of amount to be
 produced: description of byproducts. a list of test data, and estimates
 of the number of employees who will be exposed to the substance.
    If a testing requirement applicabJe to the new chemical has been
 established ( see discussion of "Testing of Chemical Substances" above)
 thP notificntion must be ·accompanied by the test da.ta required.
    The 90-day premarket notification period may be extended by the
 Administrator for an additional 90 days for good cause shown_.
    During the premarket notification period, t]ie Administrator is
 authorized to issue an order which may restrict or prohibit the manu-
 facturer of a new chemical substance on either of two bases:
         (a) that a test requirement is necessary ( or should be revised
      or added to) ; or
         (b) that a restrictive rule is appropriate.
    Orders issued during the premarket notification period are to be
 immediately efl:'ecti ve and will trigger the appropriate rulemaking pro-
 visions under section 6 (restrictions) or section 4 ( testing require-
 ments). A provision to expedite rulemaking under these provisions is
 provided.                                                                •
    If the Administrator determines that orders during the premarket
  notification period are inappropriate or that action should not be
  taken under the imminent hazards authority of section 7, he must
  publish a statement of his reasons in the.Federal Register.      •
    The premarket notification proYisions would also -apply to significant
  new uses of existing- chemical substances.
    Premarket notification would not, take place with respect to mix-
  tures or experimental or research chemicals unless the Administrator
  specifically includes any such chemical for purposes of the premarket
  notification.
    The Administrator is also authorized to exempt persons from
  premarket notification for test marketing purposes or specially limited




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        :purposes or with respect to chemical substances which are inter-
        mediate reaction products formed during the manufacture of other
        chemical substances and for which there is no exposure to ·human
        beings or the environment.
                               3. RESTRICTIVE AUTHORITY

           Restrictive requirements may be prescribed for any chemical sub-
        stance or mixture which presents or is likely to present an unreasonable
        risk of injury to health or ,the environment. Remedies available to the
        Administrator range from outright prohibition.s to simple labeling
        requirements.
           Inpromulgating rules, the Administrator is to consider all relevant
        factors and make findings with respect to them. Included are the
        risks to human beings and to the environment, the benefits of the
        substance or mixture, and the reasonably ascertainable economic
        consequences of the rule.
           The Administrator is also authorized to seek orders in the district
        courts to protect against imminent hazards. Imminent hazards are
        defined as substances or mixtures which present an unreasonable risk
        of death, serious illness, or serious personal injury, or serious environ-
        mental harm prior to the completion of an administrative hearing or
        other proceeding authorized under the bill.
                     4. REPORTING AND RETENTION OF INFORl\IATION

           The bill authorizes the Administrator to collect information which
        will .prove ·extremely valuable in gathering information necesssiry to
        assess and take action against chemicals causing unreasonable risks.
        l\fanufacturers or processors may be required to submit pertine:nt
        information with respect to the identity, uses, amounts produced,
        byproducts, healtl1 effects, and exposure levels of chemical substances.
           In addition. lists of health and safety studies conducted by, initiated
        by, or known to persons within the chemical industry must be sub-
        mitted to the Administrator. The Administrator may then require
        the submission of any study appearing on the list. This will be valu-
        able in. avo\ding the situations that have occurred in the past with
        chemicals like vinyl chloride and BCME where allegations have been
        made that the industry and trade associations withheld information
        which would have revealed hazards associated with these chemicals
        at a much earlier date.
           In addition, persons within the chemical industry, and liability
        insurers of these persons, are required to submit any information to
        the Administrator which supports the conclusion that an unreason-
        able risk to health or the environment is presented.
                       5. RELATIONSHIP TO OTHER FEDERAL LAWS

           I£ an unreasonable risk may be prevented or reduced sufficiently by
         other Federal laws, the Administrator must request the agency
         administering the law to issue an order decl3:ring whether or not




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  such a risk is presented. I:£ the agency agrees that such a risk is pre-
  sented, it must determine if the risk can be prevented or reduced
  to a· sufficient extent by action taken under the law administered by it.
     I:£ the other Federal agency issues the order declaring that there
  is no unreasonable risk or initiates action under the otherlaw, the
  Administrator may not <take action under this authority to prevent
  the unreasonable risk.
     With respect to other laws administered by the Administrator, the
  Administrator is directed to coordinate his actions with actions taken
  under those Federal laws and to use the authority contained in th06e            .-
  laws unless this authority would be more appropriate.
     In order to insure that information is gathered and premarket
  notification takes place, the restriction on the Administrator's author-
  ity would not apply to section 4 (testing), section 5 (premarket notifi-
  cation), or section 8 ( reporting and information gathering).
                          6. CITIZENS PARTICIPATION

     The bill contains a. citizen's suit provision which authorizes suits
  against the Administrator where he has failed to perform a nondis-
  cretionary duty and against others who are alleged to be in viola.tion .
  of sections 4 (testing), 5 ( premarket notification) , or 6 (a) ( restrictive
  rules). The provision is modeled after similar provisions in the Safe
  Drinking ·water Act (88 Stat. 1660) Consumer Product Safety Act 1
  Clean Air Act, Federal Water Pollution Control Act, and Noise Con-
  trol Act.
     In addition, citizens are authorized to petition the Administrator
  to take action the purpose of which is to protect against unreasonable
  risks of injury to health or the environment. I:£· the Administrator
  fails to take action within 90 days on such a petition, or denies it,
  judicial review of the denial or failure is authorized. After gathering
  evidence in a de novo procedure, the courts would be authorized to
  require the initiation of the action requested if the petitioner has
  shown that the action requested is justified. The citizen's petition
  provision is similar to that contained in the Consumer Product Safety
  Act.
                          ·7. EMPLOYEE PROTECTION

     Discrimination against any employee who participates in proceed-
  ings, testifies in a proceeding, or participates in any other action neces-
  sary to carry out the purposes of the legislation is prohibited.
     A procedure is provided whereby the Secretary of Labor would
  conduct a proceeding and may order the reinstatement of the employee
  if violations are found.                              • .        , .. .
    In addition, -the Administrator is -required .to, continuaJly evaluate
  the effects on employment which may result froin the issuance of-rules
  or orders under the bill. I:£ requested by an employee whose employ-er
  has acted against him or her because of any rule or order issued:tihder
  this bill, or :when such actions are threatened, the Administrator is
  required tq investigate- the matter and to make findings of fact with
  re«pect to.;:;mch allegations.          .         · ,      . -, , , , ·,,, ,




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                                 RESPOXS}:S TO . ARGUl\IEXTS

         1. The bill does not contain excessive authority fol' EPA.
               In the major regulatory provisions, section 4 ( relating to test re-
         quirements) and section 6 (relating to restrictive authority), the
         Administrator is directed to consider costs arnl benefits wlwn deri \·ing
         appropriate rules.
               Under section 6, the Administrator is required to make findings
         with respect to all relevant factors and to publish them in the Federal
         Register. This includes the risks to health and the environment, the
         benefits of the substance or mixture to be regulated, and the reasonably
         nscettainable economic consequences of the rule.
               U ncler section 4, the Administrator is required to consider the rea-
         sonably ascertairntQ~ costs and other burdens associated with conduct-
          ing the tests in light-or the possible risks of injury to health or the
         -environment and is required to publish these considerations in the
         Federal Register.                                                  •
             --'l:':!ie rulemaking provisions of sections 4 and 6 provide an additional
          means to prevent improper action by EPA. Under sectioµ 4 (b) ( 4) the
          Administrator is rcqufred to give interested persons an opportunity
         for the oral presentation of data, views, or arguments in addition to
        •the opportnnity to make written submissions.
        • Under the rulemaking provisions of section 6, an h1formal hearing
         must be provided with rights of cross-examination granted in appro-
          priate instances.                                                   ••   .
               Of course, judicial review of rules issued is available.
               Fina.lly, section 2 ( c) specifically states that it is the intent of Con-
         gress that the Administrator be reasonable and prudent in his admin-
         istration of the bill, and that he is to consider the environmental,
        ,economic, and social impact of actions taken. thereunder.
         .'/3. The premarlcet notification pr01:isions are not too broad.
                If hazards are to be discovered and prevented prior to the first
          mannfactnre of new chemical substances or,prior to the imposition of
          significant new uses of existing substances, premarket notification is an
          essential provision.
                Other alternatives to the committee bill now pending in the House
          -of Representatives, would restrict premarket notification only to those
           chemical substances for which a finding of risk could be made. Thus,
        •the EPA .Administrator would be placed in the position of predicting
          not only what new chemical substances might be produced, but their
           level of hazard as well. The unpredictable new chemical substance
         would be completely missed by this procedure as would those sub-
           stances for which hazards infor~ation does not exist. Thus, the pre-
           madrnt notification provisions of the committee bill forms the back-
           bone of the preventive aspects bf health protection sought by this
          legislation.
                 While the EPA. Administrator must be given the authority to act
         \luring the premarket notification period to gather more data or to
           take appropriate restrictive action, the notific~tjQn burden itself should
            not-bf! gnerous. Unless testing has been otherwise required;·notifi-cat.ion
            only co11sists of reporting routine information which should be in the
           Jiands of the manufacturer in the first place. Included is information




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                                                        AUTHENTICATE ~
                                                       U.S. GOVERNMEN T
                                                         INFORMATION
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                                                                                                                                                     Calendar No. 121
                                                                                          114TH CONGRESS                                                             REPORT
                                                                                                         "                              SENATE                  !
                                                                                             1st Session                                                             114–67




                                                                                               FRANK R. LAUTENBERG CHEMICAL SAFETY FOR THE
                                                                                                             21ST CENTURY ACT


                                                                                                                        JUNE 18, 2015.—Ordered to be printed



                                                                                                Mr. INHOFE, from the Committee on Environment and Public
                                                                                                              Works, submitted the following


                                                                                                                                    R E P O R T
                                                                                                                                     together with

                                                                                                                               MINORITY VIEWS

                                                                                                                                [To accompany S. 697]

                                                                                                            [Including cost estimate of the Congressional Budget Office]

                                                                                            The Committee on Environment and Public Works, to which was
                                                                                          referred the bill (S. 697) to amend the Toxic Substances Control
                                                                                          Act to reauthorize and modernize that Act, and for other purposes,
                                                                                          having considered the same, reports favorably thereon with an
                                                                                          amendment in the nature of a substitute and recommends the bill,
                                                                                          as amended, do pass.
                                                                                                                GENERAL STATEMENT AND BACKGROUND
                                                                                             S. 697, the Frank R. Lautenberg Chemical Safety for the 21st
                                                                                          Century Act, amends the Toxic Substances Control Act (TSCA), the
                                                                                          fundamental Federal law regulating the manufacture, processing,
                                                                                          distribution in commerce, use and disposal of chemical substances.
                                                                                             The Act is named for the late Frank R. Lautenberg, the Senate’s
                                                                                          long time champion for effective reform of TSCA in order to protect
                                                                                          against risks to human health and the environment. Before 2012,
                                                                                          Senator Lautenberg (D–NJ) had introduced TSCA reform legisla-
                                                                                          tion in five consecutive Congresses. Beginning in early 2013, Sen-
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                                                                                          ator Lautenberg worked closely with Senator David Vitter (R–LA)
                                                                                          to craft the Chemical Safety Improvement Act (CSIA), which was
                                                                                          introduced in May, 2013 (S. 1009). The bill represented the very
                                                                                                49–010




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                                                                                     first bi-partisan TSCA reform proposal, and garnered the support
                                                                                     of 26 additional members of the Senate. Sadly, Senator Lautenberg
                                                                                     passed away shortly after S. 1009 was introduced. Although the
                                                                                     Committee held a hearing on general TSCA reform with discus-
                                                                                     sions of S. 1009, no further action on the bill was taken before the
                                                                                     113th Congress adjourned.
                                                                                        Following Senator Lautenberg’s death, Senator Tom Udall (D–
                                                                                     NM) stepped in to fill the late Senator’s leadership role working to
                                                                                     pass bipartisan TSCA reform. Senators Udall and Vitter introduced
                                                                                     a modified version of S. 1009 on March 10, 2015, which reflected
                                                                                     over a year of negotiations and building upon the original CSIA.
                                                                                     The new bill, S. 697, contains many important enhancements to
                                                                                     the framework first negotiated by Senators Lautenberg and Vitter.
                                                                                        On April 28, 2015, the Committee held a business meeting on S.
                                                                                     697. The Committee adopted an amendment in the nature of a sub-
                                                                                     stitute offered by Senator Vitter that won the support of Senators
                                                                                     Whitehouse (D–RI), Merkley (D–OR), Booker (D–NJ) and Carper
                                                                                     (D–DE). The substitute reflects additional modifications to the bill
                                                                                     intended to address the concerns of stakeholders in several key
                                                                                     areas. The bi-partisan substitute marks an important milestone in
                                                                                     TSCA reform, and reflects the spirit of compromise that Frank
                                                                                     Lautenberg championed during his tenure in the Senate.
                                                                                        TSCA (Pub.L. 94–469, 90 Stat. 2004, 15 U.S.C. 2601 et seq.) was
                                                                                     enacted in 1976. TSCA gives EPA the authority to review new
                                                                                     chemicals before they are manufactured, to gather information on
                                                                                     existing chemicals in commerce, and to regulate unreasonable risks
                                                                                     to health and the environment from the manufacture, processing,
                                                                                     distribution in commerce, use or disposal of chemical substances.
                                                                                     TSCA is one of many statutes that regulate chemicals; its unique
                                                                                     focus is on industrial chemicals in commerce. TSCA does not give
                                                                                     EPA the authority to regulate pesticides; food, drugs and cosmetics;
                                                                                     nuclear materials, firearms and ammunition, or tobacco.
                                                                                        In the years since TSCA was first enacted, it has become clear
                                                                                     that effective implementation of TSCA by the Environmental Pro-
                                                                                     tection Agency (EPA) has been challenged by shortcomings in the
                                                                                     statute itself, and by several key decisions of Federal Courts and
                                                                                     the Agency’s interpretation of those decisions. S. 697, as reported
                                                                                     by the Committee, is intended to enhance confidence in the federal
                                                                                     chemical regulatory system, provide EPA the authority necessary
                                                                                     for efficient and effective regulation of chemical risks, and foster
                                                                                     safety and innovation in commercial chemistry. Importantly, S. 697
                                                                                     is designed to ensure that the competitive advantage of the U.S.
                                                                                     chemical industry is not eroded by regulatory mandates and that
                                                                                     industry is subject to a more consistent set of regulations that
                                                                                     equally protect citizens across the nation.
                                                                                        S. 697 is intended to address significant concerns about the exist-
                                                                                     ing provisions of TSCA and its implementation.
                                                                                     Testing of chemical substances and mixtures
                                                                                       Section 4 of TSCA provides EPA the authority to require manu-
                                                                                     facturers to test chemicals, but requires EPA to justify a testing re-
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                                                                                     quirement based on either a finding that the substance may
                                                                                     present an unreasonable risk of injury to health or the environ-
                                                                                     ment, or that the production of a substantial quantity of the sub-
                                                                                     stance may create exposures to humans or the environment. EPA




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                                                                                     risk of serious or widespread injury to health or the environment
                                                                                     before the effective date of a rule, EPA is authorized to declare a
                                                                                     proposed rule to be effective upon publication in the Federal Reg-
                                                                                     ister. Safety determinations and associated safety assessments are
                                                                                     considered final agency action effective upon completion and final
                                                                                     publication (for substances found to meet the safety standard) or
                                                                                     the date of promulgation of the final risk management rule (for
                                                                                     substances found to not meet the safety standard).
                                                                                        The substitute approved by the Committee makes several im-
                                                                                     provements to the risk management provisions of S. 697. Con-
                                                                                     sistent with changes made in section 7 related to new chemicals
                                                                                     and significant new uses, section 8 requires EPA to impose risk
                                                                                     management restrictions on persistent, bioaccumulative and toxic
                                                                                     (PBT) substances for uses or conditions of use found not to meet
                                                                                     the safety standard that reduce exposures ‘‘to the maximum extent
                                                                                     practicable.’’ For PBT Work Plan chemicals and in assessing subse-
                                                                                     quent high priority chemicals, the Committee believes that EPA’s
                                                                                     Framework for Metals Risk Assessment (EPA 120/R–07/001)
                                                                                     (March 2007) should be consulted for metals and metal compounds.
                                                                                     In addition, because the application of criteria applied in the
                                                                                     prioritization screening process is not a definitive assessment of
                                                                                     PBT characteristics, the Agency should consider whether sub-
                                                                                     stances that might otherwise be considered to have PBT character-
                                                                                     istics should be addressed in a different way (e.g., substances that
                                                                                     bioaccumulate but do not biomagnify), or whether substances that
                                                                                     may not meet traditional PBT criteria should nonetheless be con-
                                                                                     sidered PBTs (e.g., substances that bioaccumulate in blood rather
                                                                                     than fat tissue).
                                                                                        EPA is to impose risk management on articles only to the extent
                                                                                     necessary to address the identified risks of the chemical substance
                                                                                     from the article in order for EPA to determine that the chemical
                                                                                     substance meets the safety standard. EPA is to exempt replace-
                                                                                     ment parts that are manufactured prior to the effective date of the
                                                                                     rule for articles that are first manufactured prior to the effective
                                                                                     date of the rule unless it finds the replacement parts contribute
                                                                                     significantly to the identified risk.
                                                                                        It is critical to a workable chemical management structure that
                                                                                     EPA be afforded some level of discretion in implementing a ban or
                                                                                     phase-out. However, to address concerns that the compliance date
                                                                                     for such restrictions on a chemical substance not be unduly long,
                                                                                     the section requires EPA to make compliance with such a rule
                                                                                     mandatory in as short a period as practicable.
                                                                                        Notably, the section eliminates the controversial provision of ex-
                                                                                     isting TSCA that requires EPA to adopt the ‘‘least burdensome’’
                                                                                     regulatory requirement. This has been viewed by the Agency as a
                                                                                     major road block to successful TSCA implementation because of the
                                                                                     evidentiary and analytic burdens associated with justifying that
                                                                                     each proposed regulatory action was the least burdensome require-
                                                                                     ment needed to ensure a chemical did not pose an unreasonable
                                                                                     risk. While this requirement has been removed, the Committee
                                                                                     maintains a strong continued interest in ensuring any regulatory
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                                                                                     decisions under this act undergo an implementable yet robust con-
                                                                                     sideration of costs and benefits. This section requires EPA to assess
                                                                                     the costs, benefits, and feasibility of regulatory options the Admin-
                                                                                     istrator has considered, and describe how that assessment influ-




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                                                                                     enced the choice of regulatory requirements, but is not intended to
                                                                                     establish a least burdensome requirement. EPA is authorized to ex-
                                                                                     empt certain uses of a chemical substance if compliance with the
                                                                                     regulatory restriction would harm national security, cause signifi-
                                                                                     cant disruption of the national economy, or interfere with critical
                                                                                     or essential uses. In the case of a ban or phase-out of a chemical
                                                                                     substance, any exemption adopted by EPA can only last for a pe-
                                                                                     riod of 5 years, subject to renewal.
                                                                                     Section 9. Imminent hazards
                                                                                       Section 9 of S. 697 amends section 7 of TSCA. The amendments
                                                                                     make no substantive policy change in EPA’s authority to protect
                                                                                     against unreasonable risks associated with imminent hazards from
                                                                                     certain chemical substances. The amendment updates and con-
                                                                                     forms the section to the new authority provided under S. 697.
                                                                                     Section 10: Information collection and reporting
                                                                                        Section 10 of S. 697 amends section 8 of TSCA, the general infor-
                                                                                     mation collection and reporting authorities under the Act. The sec-
                                                                                     tion ensures that EPA’s information collection and reporting re-
                                                                                     quirements produce a more complete picture of chemical substances
                                                                                     in active commerce in the United States. The section also requires
                                                                                     EPA to review all prior claims for the protection of confidential
                                                                                     chemical identities for active substances within 5 years of enact-
                                                                                     ment. The section provides authority to apply reporting and record-
                                                                                     keeping requirements to both manufacturers and processors.
                                                                                        Although TSCA currently gives authority to EPA to collect infor-
                                                                                     mation from processors, EPA has not chosen to do so. It is the
                                                                                     Committee’s intent that manufacturers (including importers) and
                                                                                     processors have reporting obligations only where appropriate and
                                                                                     necessary to enable EPA to understand what chemicals are actu-
                                                                                     ally in active commerce, to gain access to information necessary to
                                                                                     implement this Act, and to keep the information updated. These re-
                                                                                     porting obligations should be appropriately tailored to ensure that
                                                                                     reporting burdens on any particular sector are equitable, undue
                                                                                     burdens on small manufacturers and processors are minimized,
                                                                                     and reporting requirements are applied to those persons likely to
                                                                                     have information relevant to the effective implementation of this
                                                                                     title. The Committee expects EPA to use the information generated
                                                                                     by periodic reporting obligations to provide relevant information on
                                                                                     chemical uses and possible exposures, and improve the ability of
                                                                                     the Administrator to conduct prioritization screening, safety assess-
                                                                                     ments and safety determinations, and to promulgate and imple-
                                                                                     ment appropriate risk management rules.
                                                                                        TSCA requires a chemical substance to be listed on the TSCA In-
                                                                                     ventory before it is commercialized. However, TSCA does not re-
                                                                                     quire EPA on an ongoing basis to identify which substances on the
                                                                                     Inventory are actually in commerce. With approximately 84,000
                                                                                     substances now on the Inventory—but less than 8,000 chemical
                                                                                     substances reported under the EPA’s Chemical Data Reporting
                                                                                     Rule as being produced in volumes above the rule’s reporting
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                                                                                     threshold—it is important that EPA (and the American public)
                                                                                     have a better picture of what substances are in actual commerce
                                                                                     at any given time. The failure to identify active substances has cre-
                                                                                     ated confusion.




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                                                                                                  tinuing or completing such a safety assessment or safety de-
                                                                                                  termination that was initiated before the date of enactment
                                                                                                  of the Frank R. Lautenberg Chemical Safety for the 21st
                                                                                                  Century Act, prior to the effective date of the policies and
                                                                                                  procedures required to be established by the Administrator
                                                                                                  under section 3A or 4A.
                                                                                                     (B) INTEGRATION OF PRIOR POLICIES AND PROCEDURES.—
                                                                                                  As policies and procedures under section 3A and 4A are es-
                                                                                                  tablished, to the maximum extent practicable, the Adminis-
                                                                                                  trator shall integrate the policies and procedures into ongo-
                                                                                                  ing safety assessments and safety determinations.
                                                                                               (2) ACTIONS COMPLETED PRIOR TO COMPLETION OF POLICIES
                                                                                             AND PROCEDURES.—Nothing in this Act requires the Adminis-
                                                                                             trator to revise or withdraw a completed safety assessment,
                                                                                             safety determination, or rule solely because the action was
                                                                                             completed prior to the completion of a policy or procedure es-
                                                                                             tablished under section 3A or 4A, and the validity of a com-
                                                                                             pleted assessment, determination, or rule shall not be deter-
                                                                                             mined based on the content of such a policy or procedure.
                                                                                               (3) NOTICE OF EXISTING INFORMATION.—
                                                                                                     (A) IN GENERAL.—The Administrator shall, where such
                                                                                                  information is available, take notice of existing information
                                                                                                  regarding hazard and exposure published by other Federal
                                                                                                  agencies and the National Academies and incorporate the
                                                                                                  information in safety assessments and safety determina-
                                                                                                  tions with the objective of increasing the efficiency of the
                                                                                                  safety assessments and safety determinations.
                                                                                                     (B) INCLUSION OF INFORMATION.—Existing information
                                                                                                  described in subparagraph (A) should be included to the ex-
                                                                                                  tent practicable and where the Administrator determines
                                                                                                  the information is relevant and scientifically reliable.
                                                                                          (c) SAFETY DETERMINATIONS.—
                                                                                               (1) IN GENERAL.—Based on a review of the information avail-
                                                                                             able to the Administrator, including draft safety assessments
                                                                                             submitted by interested persons, and subject to section 18, the
                                                                                             Administrator shall determine that—
                                                                                                     (A) the relevant chemical substance meets the safety
                                                                                                  standard;
                                                                                                     (B) the relevant chemical substance does not meet the
                                                                                                  safety standard, in which case the Administrator shall, by
                                                                                                  rule under subsection (d)—
                                                                                                         (i) impose restrictions necessary to ensure that the
                                                                                                       chemical substance meets the safety standard under
                                                                                                       the conditions of use; or
                                                                                                         (ii) if the safety standard cannot be met with the ap-
                                                                                                       plication of restrictions, ban or phase out the chemical
                                                                                                       substance, as appropriate; or
                                                                                                     (C) additional information is necessary in order to make
                                                                                                  a determination under subparagraph (A) or (B), in which
                                                                                                  case the Administrator shall take appropriate action under
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                                                                                                  paragraph (2).
                                                                                               (2) ADDITIONAL INFORMATION.—If the Administrator deter-
                                                                                             mines that additional information is necessary to make a safety




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